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LQWHUHVWZLWKIDOVHRUPLVOHDGLQJVWDWHPHQWVDERXWWKHFRPSDQ\2QFHWKHVWRFNSULFHDQGWUDGLQJ

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XQUHVWULFWHGVWRFNZKLFKLINQRZQWRLQYHVWRUVDQGPDUNHWSDUWLFLSDQWVZRXOGLQIRUPLQYHVWRUV

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RZQODUJHDPRXQWVRIFRPSDQ\VWRFNDQGWKXVDUHLQDFRQWUROUHODWLRQVKLSZLWKWKHFRPSDQ\

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FRPSDQ\¶VVWRFNKROGHUVDQGWKHPDUNHWSODFHWRGUDPDWLFFKDQJHVLQVHFXULWLHVRZQHUVKLSWKDW

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SDUWLFLSDQWVLQDSXPSDQGGXPSVFKHPHVHOOODUJHEORFNVRIVWRFNWRWKHLQYHVWLQJSXEOLF

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LQYHVWRUVWRSXUFKDVHWKHLUXQGLVFORVHGVWDNHDWLQIODWHGSULFHV3URPRWHUVPD\IDOVHO\FODLPWR

RIIHULQGHSHQGHQWXQELDVHGUHFRPPHQGDWLRQVLQQHZVOHWWHUVDQGRWKHUWRXWVZKHQWKH\VWDQGWR

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IUDXGVWHUVFDQREWDLQFRQWURORIDVXEVWDQWLDOSRUWLRQRIWKHFRPSDQ\¶VXQUHVWULFWHGVKDUHV7R

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VL]HDWVXEVWDQWLDOO\WKHVDPHWLPHDQGVXEVWDQWLDOO\WKHVDPHSULFHIRUWKHVDOHRUSXUFKDVHRID

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LQYHVWRUVIURPSXPSDQGGXPSVFKHPHVDQGHQVXUHWKDWLQYHVWRUVXQGHUVWDQGZKRLVFRQWUROOLQJ

DFRPSDQ\DQGZKHWKHUDQ\ODUJHVKDUHKROGHUVKDYHDPDVVHGDSRVLWLRQWKDWZLOODOORZWKHPWR

FRQWURORULQIOXHQFHWKHFRPSDQ\DQGLWVVHFXULWLHV:KHQWKHVHUHTXLUHGGLVFORVXUHVDUHHYDGHG

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SUHVHQW:KLOHWKLVDFWLRQFRQFHUQVWKUHHRIWKRVHLVVXHUVLQPRVWFDVHVLQZKLFK+RQLJ

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FRPSDQ\¶VPDWHULDOPDQDJHPHQWGHFLVLRQVDQGSROLFLHVDQGYRWLQJWRJHWKHUWRGLUHFWWKH

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H[LWWKHLQYHVWPHQWWKH\ZRXOGHQJLQHHUDSXEOLFLW\JHQHUDWLQJHYHQWWKDWZRXOGERWKGULYHWKH

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RUDQHZLQYHVWPHQWE\DZHOONQRZQLQYHVWRUOLNH,QYHVWRU±DQGSDLGZULWHUVEORJJHUVRU

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FRQWDFWDWWLPHVSXUSRVHIXOO\PRYLQJWKHLUFRQYHUVDWLRQVWRWKHOHVVSHUPDQHQWPHGLXPRIWH[W

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VKRXOGYRWHRQYDULRXVSURSRVDOV)RUH[DPSOHZLWKUHVSHFWWRRQHRIWKHLVVXHUVLQZKLFKWKH\

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JURXSRILQYHVWRUVLQDQRWKHULVVXHU6WHWVRQUHVSRQGHGWRDUHTXHVWIRU³LQVWUXFWLRQVWRYRWH´

ZLWK³>Y@RWLQJLQIDYRURI>WZRQDPHGGLUHFWRUV@$JDLQVWDOORWKHUPHPEHUVDQGDFWLRQV´

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KLVHQWLW\*UDQGHURUWKURXJKIDPLO\PHPEHUV¶DFFRXQWVDORQJVLGH+RQLJDQGRUD+RQLJ

HQWLW\LQPRUHWKDQLVVXHUVEHWZHHQDSSUR[LPDWHO\DQGPLG)URPDWOHDVW

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E\NHHQPDUNHWREVHUYHUV$VHDUO\DVDVKRUWVHOOHUSXEOLVKHGDUHSRUWRQDFRPSDQ\LQ

ZKLFKWKHWZRKDGLQYHVWHGDQGQRWHGWKDWDIDFWRUQHJDWLYHO\DIIHFWLQJWKHYDOXHRIWKH

FRPSDQ\¶VVWRFNZDVWKH&(2¶VFORVHILQDQFLDOWLHVZLWK³WZRVHULDOVWRFNSURPRWHUV´ZKRPLW

LGHQWLILHGDV+RQLJDQG%UDXVHU

              )RUVRPHRIWKHLVVXHUVLQZKLFK%UDXVHUFRLQYHVWHGDORQJVLGH+RQLJ%UDXVHU

WRRNDQDFWLYHUROHDWWLPHVGLUHFWLQJWKHLVVXHU¶VPDQDJHPHQWILQGLQJDQGQHJRWLDWLQJ

WUDQVDFWLRQVIRUWKHLVVXHURUEULQJLQJLQDGGLWLRQDOLQYHVWRUV,QRWKHUV±SDUWLFXODUO\ZKLOH

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LQYROYHGZLWKUHVSHFWWRWKHRWKHULVVXHUVLQZKLFKKHKDGFRLQYHVWHGZLWK+RQLJKHZDVZHOO

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VLJQDOWR%UDXVHUZKHQLWZDVWLPHWRVHOOKLVVKDUHV

              6WHWVRQVKDUHGRIILFHVSDFHZLWK+RQLJDQG2¶5RXUNHDWDOOUHOHYDQWWLPHV

,QGLYLGXDOO\WKURXJKKLVHQWLW\6&,RUWKURXJK+6&,WKHYHKLFOHKHQRPLQDOO\FRQWUROOHG

6WHWVRQLQYHVWHGDORQJVLGH+RQLJDQGRUD+RQLJHQWLW\LQPRUHWKDQLVVXHUVEHWZHHQ

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GLUHFWLRQVPDQDJHGWKHDGPLQLVWUDWLYHDVSHFWVRIWKH+RQLJJURXS¶VLQYHVWPHQWVDQGSHUIRUPHG

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LQVWUXFWLRQVWRLQYHVWRUV+RQLJKDGOLQHGXSWUDFNHGWKHRZQHUVKLSRIHDFKJURXSPHPEHULQD

SDUWLFXODULVVXHUFRUUDOOHGVKDUHKROGHUYRWHVIURPFRLQYHVWRUVDQGLQVRPHFDVHVHYHQWROGFR

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PDQDJHG+RQLJ¶VDUUDQJHPHQWVZLWK)RUGWRZULWHSDLGSURPRWLRQDODUWLFOHVDERXWLVVXHUVLQ

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WKDW:ULWHU(GLGQRWGLVFORVHWKHVHSD\PHQWVLQWKHSURPRWLRQDOSLHFHVKHSXEOLVKHGRQWKHVH

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IRUWKHE\OLQHDQGGLGQRWGLVFORVHKLVUHODWLRQVKLSWRWKHLVVXHUEHLQJSURPRWHGRUWKH

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                  ,QDGGLWLRQWRKLVZRUNZLWKSURPRWHUVDQGKLVRZQSURPRWLRQDODFWLYLWLHVLQDW

OHDVWRQHLQVWDQFH2¶5RXUNHWRRNWKHOHDGLQQHJRWLDWLQJDWUDQVDFWLRQIRU&RPSDQ\%LQZKLFK

KH+RQLJ%UDXVHUDQG6WHWVRQDQGRUFHUWDLQRIWKHLUHQWLWLHVKDGLQYHVWHG$IWHUDERXWKLVILUVW

\HDUZLWK+RQLJ2¶5RXUNHDOVREHJDQDVVLVWLQJ6WHWVRQZLWKWKHDGPLQLVWUDWLYHDVSHFWVRIHDFK

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                  ,QYHVWRULQYHVWHGDORQJVLGH+RQLJRUD+RQLJHQWLW\LQVHYHUDOLVVXHUVIURP

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OHJLWLPDF\LPSRUWDQWSXEOLFLW\IRUWKHLVVXHUDQG±PRVWKHOSIXOLQFUHDWLQJPDUNHWLQWHUHVWLQ

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PDQDJLQJPHPEHU+RQLJFRQWUROOHGRILWVPHPEHUVKLSLQWHUHVWVDQGGLUHFWHGPDQ\RI

+6&,¶VLQYHVWPHQWGHFLVLRQVLQFOXGLQJWKHVL]HRIWKHDOORFDWLRQ+6&,ZRXOGWDNHLQDSDUWLFXODU

ILQDQFLQJWKHWLPLQJRIZKHQ+6&,ZRXOGGHSRVLWVKDUHVRUVHOOLWVSRVLWLRQDQGWKHEURNHUV

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GLUHFWHG6WHWVRQWR³FRQYHUWGHSRVLWDQGSXUFKDVH>VKDUHVLQDSDUWLFXODULVVXHU@IURP

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IRU6WHWVRQKHGLUHFWHG6WHWVRQWR³FKDQJHZDUUDQWWR+6>&,@+DYH+6>&,@EX\LWIRU´

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IURPPHDQGRUP\DVVLJQHHVDQG,JHWVKDUHVIRUGXHGLOLJHQFHDQGVWUXFWXULQJIHH´

6WHWVRQKDGQRSDUWLQWKHQHJRWLDWLRQV:KHQWKHLVVXHUVHQWWKHILQDOGHDOGRFXPHQWVERWKWKH

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QDPHRI+6&,DQG6WHWVRQVLJQHGWKHPERWKRQEHKDOIRI+6&,

              +RQLJWUHDWHG+6&,DVKLVRZQHQWLW\LQRWKHUZD\VDVZHOO)RUH[DPSOH

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DSULYDWHMHWUHQWDODQGDSD\PHQWWRRQHRIWKHER[HUVLQWKHVWDEOHRISURIHVVLRQDO

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DVNHG6WHWVRQWROLVW+RQLJ¶VYDULRXVSRVLWLRQVLQLVVXHUV6WHWVRQZRXOGUHSO\ZLWKDOLVWWKDW




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LQFOXGHG+6&,¶VSRVLWLRQ%XWERWK6WHWVRQDQG+RQLJZRUNHGWRKLGHWKDWIDFWIURPRWKHUV,QD

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6WHWVRQIRU³DOLVWRIDOOSULQFLSDOVDQGEHQHILFLDORZQHUVKLSSHUFHQWDJH´6WHWVRQIDLOHGWR

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                +6&,ZDVQRWWKHRQO\YHKLFOH+RQLJXVHGWRFRQFHDOKLVLQYHVWPHQWV+RQLJ

XVHG6RXWKHUQ%LRWHFKDVDQHQWLW\WKURXJKZKLFKKH%UDXVHUDQG,QYHVWRUFRXOGHDFKIXQQHO

WKHLULQYHVWPHQWVLQLVVXHUVLQFOXGLQJ&RPSDQ\&WKXVVKLHOGLQJWKHVL]HRIWKHLULQGLYLGXDO

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ZHEVLWHDSRSXODULQYHVWRUIRUXP'XULQJWKHLUPHHWLQJ+RQLJDVNHG)RUGKRZPXFKKHZDV

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RILQYHVWRUVWKDWKHQHJRWLDWHGZLWKLVVXHUV)RUGXQGHUVWRRGWKHYDOXHRIWKDWRSSRUWXQLW\VLQFH

+RQLJKDQGSLFNHGWKHLQYHVWRUVLQYLWHGWRSDUWLFLSDWHWKHSULYDWHSODFHPHQWVKDUHVZHUHYDOXHG

EHORZPDUNHWDQG+RQLJ¶VWUDFNUHFRUGRI³VXFFHVVIXO´LQYHVWPHQWVPHDQWWKDWWKHVKDUHV)RUG


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REWDLQHGZRXOGOLNHO\ULVHLQYDOXH)RUGDOVRXQGHUVWRRGWKDW+RQLJ¶VLQYLWDWLRQWRSDUWLFLSDWHLQ

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LVVXHUVDW+RQLJ¶V6WHWVRQ¶VDQG2¶5RXUNH¶VUHTXHVWV%\WKHHQGRIWKHPHHWLQJ+RQLJDQG

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LQYHVWRUVZRXOGEHOLHYH)RUG¶VDUWLFOHVWREHWKHSURGXFWRIKLVLQGHSHQGHQWDQDO\VLVDQGIUHH

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SURSRVHGWKDW)RUGSXUFKDVHVHFXULWLHVRILVVXHU6³,VVXHU6´DQLVVXHULQZKLFK+RQLJ6WHWVRQ

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RIWKHSXUFKDVHZLUHVDQGWKHLQIRUPDWLRQ)RUGVKRXOGSXWLQWKHUHIHUHQFHOLQHIRUWKHSXUFKDVH

ZLUHV,QWKDWVDPHHPDLO6WHWVRQLQIRUPHG)RUGWKDWDZLUHKDGEHHQGHSRVLWHGLQWR

)RUG¶VDFFRXQWHYHQWKRXJK)RUGKDG\HWWRSXUFKDVHWKHVWRFNIRUZKLFKKHZDVUHFHLYLQJWKH

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KDG³SXUFKDVHGWZRZHHNVDJR´8OWLPDWHO\)RUGHDUQHGSURILWVRIDSSUR[LPDWHO\

              3XUVXDQWWRWKHDJUHHPHQW)RUGDQG+RQLJUHDFKHGLQWKHLUVXPPHU

PHHWLQJLQ&DOLIRUQLD)RUGEHJDQZULWLQJDUWLFOHVDW+RQLJ¶VEHKHVWZLWKDVVLVWDQFHLQLWLDOO\

SURYLGHGE\6WHWVRQDQGODWHUE\2¶5RXUNH)RUH[DPSOHLQ6HSWHPEHU6WHWVRQDUUDQJHG

IRU)RUGWRFRQGXFWDQLQWHUYLHZIRUDSURPRWLRQDODUWLFOH)RUGZDVZULWLQJRQ,QYHVWRU




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&RPSDQ\$OVRLQDVGHVFULEHGPRUHIXOO\EHORZDW+RQLJ¶VGLUHFWLRQ6WHWVRQDUUDQJHG

WRVHOOVRPHRIKLV&RPSDQ\%VKDUHVDWDGLVFRXQWWR)RUGLQH[FKDQJHIRU)RUGZULWLQJWZR

IDYRUDEOHDUWLFOHVDERXW&RPSDQ\%6WHWVRQNQHZRUZDVUHFNOHVVLQQRWNQRZLQJWKDW)RUG

ZDVEHLQJFRPSHQVDWHGWRZULWHWKHVHDUWLFOHVDQGWKDW)RUGZDVQRWGLVFORVLQJWKHDUUDQJHPHQW

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DQGLQUHWXUQIRUWKHULJKWWRSDUWLFLSDWHLQRIIPDUNHWVHFXULWLHVWUDQVDFWLRQVRU+RQLJOHGSULYDWH

SODFHPHQWV+HDOVRUHFHLYHGDWOHDVWLQFDVKSD\PHQWVGXULQJWKLVSHULRG+RQLJ

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RUWKHJURXSRI+RQLJ%UDXVHUDQGRWKHUVLQFOXGLQJ6WHWVRQDQG$IILOLDWHDVRZQLQJDJUHDWHU

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              3RVWFORVLQJ+RQLJDQG%UDXVHURUFKHVWUDWHGDVHULHVRIDGGLWLRQDO3,3(

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GHEWFRQYHUWLEOHDWSHQQLHVSHUVKDUHLQWRPLOOLRQVRIVKDUHVDQGZDUUDQWVIRUWKHFKHDS

DFTXLVLWLRQRIHYHQPRUHVKDUHV6RPHRIWKHVHILQDQFLQJVDOORZHG&RPSDQ\$WRUHILQDQFHGHEW

LWKDGDPDVVHGERWKLQRUGHUWRFORVHWKHUHYHUVHPHUJHULQWRWKHSXEOLFVKHOODQGDVDUHVXOWRI

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FRPSHQVDWLRQ.HOOHU¶VFRPSHQVDWLRQVXEVWDQWLDOO\LQFUHDVHGRQFHKHEHJDQZRUNLQJZLWK+RQLJ

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LQFOXGLQJ6WHWVRQ,QYHVWRU&RPSDQ\,QYHVWRU*URXSDQG,QYHVWRU7UXVWKDGDPDVVHG

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PDQDJHPHQWWKDWWKHEHQHILFLDORZQHUVKLSWDEOHVKRXOGEHDPHQGHGWRUHIOHFW+RQLJ¶VVXEVWDQWLDO

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DPRQJRWKHUGHIHQGDQWVVHHNLQJLQSDUWWKHPLOOLRQVKDUHVKHKDGEHHQSURPLVHGEXW

ZKLFKKDGQHYHUEHHQGHOLYHUHGWRKLPRXWRIHVFURZ&RPSDQ\$DFWLQJDW+RQLJ¶VDQG

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VXHGWKH&(2,QSXEOLFILOLQJVDERXWWKHVXLW&RPSDQ\$UHSUHVHQWHGWKDWWKH&(2KDG

EUHDFKHGKLVFRQWUDFWZLWKWKH&RPSDQ\DQGUHSRUWHGWKDWWKH&RPSDQ\ZDVVHHNLQJGDPDJHV

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               2.       The Company A Pump and Dump

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PLOOLRQ&RPSDQ\$VKDUHVWKDWKDGEHHQLVVXHGWR+RQLJ6WHWVRQZRUNHGFORVHO\ZLWK+RQLJ

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6WHWVRQ¶VUROHLQZRUNLQJZLWK+RQLJZDVWRNHHSWUDFNRIWKHDPRXQWRIHDFKDVVRFLDWHG

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LQYHVWPHQWLQ&RPSDQ\$ERUHWKHWLWOH+RQLJDQG2¶5RXUNHKDGVXSSOLHGWR)RUG³>,QYHVWRU

&RPSDQ\@DQG,WV%LOOLRQDLUH&(2,QYHVWHGLQ>&RPSDQ\$@´,QLW)RUGSUHVHQWHGDEXOOLVK

RXWORRNIRU&RPSDQ\$DQGFRQFOXGHGWKDW³&RPSDQ\$VKRXOGEHWUDGLQJIRUPRUHWKDQWZLFH




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WRGD\¶VYDOXDWLRQ´

             .HOOHUUHYLHZHG)RUG¶V&RPSDQ\$DUWLFOHSULRUWRLWVSXEOLFDWLRQDQGNQHZ

RUZDVUHFNOHVVLQQRWNQRZLQJWKDW)RUGZDVSUHSDULQJDSURPRWLRQDODUWLFOH)RUG¶VDUWLFOH

LQFOXGHGDTXHVWLRQDQGDQVZHULQWHUYLHZRI.HOOHUZKLFK2¶5RXUNHKDGDUUDQJHGHDUOLHULQ

6HSWHPEHU)RUGTXRWHG.HOOHUWRXWLQJWKHEHQHILWVRI&RPSDQ\$¶V4XVRPHVWHFKQRORJ\

6SHFLILFDOO\)RUGTXRWHG.HOOHU¶VPLVOHDGLQJVWDWHPHQWWKDW&RPSDQ\$KDGDIRUPXODWLRQ

UHDG\IRUWHVWLQJWREHEURXJKWWRWKHELOOLRQGROODULQMHFWDEOHGUXJPDUNHW<HWDV.HOOHUNQHZ

DVRIVXPPHU&RPSDQ\$KDGVKXWGRZQDOO5	'HIIRUWVZLWKRXWWKHVXFFHVVIXO

IRUPXODWLRQRIDQLQMHFWDEOHGUXJDQG&RPSDQ\$KDGFHDVHGDOOHIIRUWVWRGHYHORSWKLV

WHFKQRORJ\LQPLG

             )RUG¶VDUWLFOHZDVDOVRPDWHULDOO\IDOVHDQGPLVOHDGLQJLQIDLOLQJWRGLVFORVH

WKDW)RUGKDGEHHQFRPSHQVDWHGE\+RQLJIRUZULWLQJWKHDUWLFOHWKURXJK+RQLJ¶VVDOHWRKLPRI

EHORZPDUNHW&RPSDQ\$VKDUHVRQ6HSWHPEHU,QVWHDG)RUGLQFOXGHGDGLVFODLPHUWKDWZDV

LWVHOIIDOVHDQGPLVOHDGLQJ³,DPORQJ>&RPSDQ\$@,ZURWHWKLVDUWLFOHP\VHOIDQGLW

H[SUHVVHVP\RZQRSLQLRQV,DPQRWUHFHLYLQJFRPSHQVDWLRQIRULWRWKHUWKDQIURP6HHNLQJ

$OSKD,KDYHQREXVLQHVVUHODWLRQVKLSZLWKDQ\FRPSDQ\ZKRVHVWRFNLVPHQWLRQHGLQWKLV

DUWLFOH´

             7KHPDUNHWUHDFWHGVWURQJO\WRWKH&RPSDQ\$SURPRWLRQWKHWUDGLQJYROXPH

RI&RPSDQ\$VWRFNURVHIURPDSSUR[LPDWHO\VKDUHVRQ6HSWHPEHUWRRYHU

PLOOLRQVKDUHVRQ6HSWHPEHUDQGWRPRUHWKDQPLOOLRQVKDUHVRQ2FWREHU

7KHVKDUHSULFHLQFUHDVHGIURPDQDYHUDJHRIDERXWGXULQJ$XJXVWWRDQLQWUDGD\

SULFHRIRQ2FWREHU%HFDXVHPDQ\RIWKH'HIHQGDQWVKDGDFTXLUHGWKHLUVKDUHV

VRFKHDSO\WKH\GLGQRWQHHGWRFDSWXUHWKHLPPHGLDWHSRVWSXEOLFDWLRQSULFHMXPSLQRUGHUWR




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SURILWKDQGVRPHO\DQGWKXVWKH\VROGWKHLUVKDUHVLQWUDQVDFWLRQVVWDJJHUHGRYHUDWKUHHPRQWK

SHULRG6WDJJHULQJWKHLUVDOHVRYHUDORQJHUSHULRGRIWLPHDOORZHGWKHPWRDYRLGSXVKLQJWKH

VWRFNSULFHORZHUDQGWKHVFUXWLQ\WKDWPLJKWKDYHUHVXOWHGIURPWKH+RQLJJURXS¶VVLPXOWDQHRXV

VHOOLQJ

            %HWZHHQWKHVWDUWRIWKHPDQLSXODWLYHWUDGLQJRQ6HSWHPEHUDQG

'HFHPEHU+RQLJDQGKLVFRLQYHVWRUVVROGVKDUHVLQWRWKHLQIODWHGPDUNHWIRUSURFHHGV

RIDSSUR[LPDWHO\


                           &RPSDQ\$3XPSDQG'XPS3URFHHGV
  'HIHQGDQWV                   7UDGH'DWHV 1HW4XDQWLW\               3URFHHGV
                                       6ROG
  +RQLJ                        ±                
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  $IILOLDWHVLQFOXGLQJ        ±                
  ,QYHVWRU7UXVW,QYHVWRU
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  6WHWVRQDQG6&,              ±                  
  2¶5RXUNHDQG$7*             ±                  
  7RWDO                                                   
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            7RFRPSHQVDWH2¶5RXUNHIRUKLVZRUNLQFOXGLQJZRUNLQJZLWK)RUGRQWKH

SURPRWLRQDOSLHFHRQ2FWREHU+RQLJVROGWR2¶5RXUNH¶V$7*RQHRI+RQLJ¶V

&RPSDQ\$QRWHVZLWKDIDFHYDOXHRIZKLFK2¶5RXUNHLPPHGLDWHO\FRQYHUWHGLQWR

&RPSDQ\$VKDUHV'HVSLWHWKHIDFWWKDW&RPSDQ\$VKDUHVZHUHWUDGLQJDWDSULFHDV

KLJKDVSXUVXDQWWRWKHWHUPVRIWKH&RPSDQ\$QRWHKHERXJKWIURP+RQLJ2¶5RXUNH

SDLGOHVVWKDQKDOIWKDWSULFHDWDVKDUHZKHQKHFRQYHUWHGWKURXJK$7*2¶5RXUNHWKHQ

VROGKLV$7*VKDUHVLQWRWKHPDUNHWDWWKHPXFKKLJKHUDYHUDJHSULFHRIDERXWSHUVKDUH

EHWZHHQ6HSWHPEHUDQG'HFHPEHU



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                3.       The Unlawful Distribution of Company A Shares by Honig and Brauser

                +RQLJDQG%UDXVHUREWDLQHGWKH&RPSDQ\$VKDUHVGLUHFWO\IURP&RPSDQ\$

RUD&RPSDQ\$DIILOLDWHLQWUDQVDFWLRQVQRWLQYROYLQJDQ\SXEOLFRIIHULQJ7KHUHIRUHWKH

&RPSDQ\$VKDUHVWKHVH'HIHQGDQWVVROGZHUHUHVWULFWHGVHFXULWLHVDVGHILQHGLQ6HFXULWLHV$FW

5XOHDL1RUHJLVWUDWLRQVWDWHPHQWZDVLQHIIHFWIRUDQ\RIWKH&RPSDQ\$VWRFNVDOHV

E\+RQLJRU%UDXVHULQWKH6HSWHPEHUWKURXJK'HFHPEHUSHULRG1RH[HPSWLRQIURP

UHJLVWUDWLRQZDVDYDLODEOHWRHLWKHURIWKHPRUWKHLUHQWLWLHVZLWKUHVSHFWWRWKHVHVKDUHV

                +RQLJDQG%UDXVHUZHUHDOVRVWDWXWRU\XQGHUZULWHUVXQGHU6HFXULWLHV$FW

6HFWLRQDEHFDXVHWKH\DFTXLUHGWKHVHVHFXULWLHVIURPWKHLVVXHURUDQDIILOLDWHRIWKHLVVXHU

ZLWKDYLHZWRSXEOLFGLVWULEXWLRQ$VVWDWXWRU\XQGHUZULWHUVLQRUGHUWRUHVHOOWKHVHFXULWLHVWR

WKHSXEOLFLQUHOLDQFHRQ6HFXULWLHV$FW6HFWLRQDWKH\ZHUHUHTXLUHGWRFRPSO\ZLWKWKH

DSSOLFDEOHFRQGLWLRQVRI6HFXULWLHV$FW5XOHZKLFKWKH\GLGQRW

                (DFKRI+RQLJDQG%UDXVHUDQGWKHLUUHVSHFWLYHUHOHYDQWHQWLWLHVZHUHXQGHU

FRPPRQFRQWUROZLWK&RPSDQ\$PDNLQJHDFKRIWKHVH'HIHQGDQWVDQDIILOLDWHRI&RPSDQ\$

XQGHU6HFXULWLHV$FW5XOHD7KHEHQHILFLDORZQHUVKLSRIDOPRVWRIWKHRXWVWDQGLQJ

VWRFNRI&RPSDQ\$E\+RQLJ%UDXVHUDQG*UDQGHUDQGRWKHUFRLQYHVWRUVLQFOXGLQJ$IILOLDWH

$IILOLDWH(QWLW\6WHWVRQ6&,,QYHVWRU&RPSDQ\,QYHVWRU7UXVWDQG,QYHVWRU*URXS

JDYHWKHPFROOHFWLYHFRQWURORYHUWKHLVVXHU±FRQWUROWKH\H[HUFLVHGDVGHPRQVWUDWHGE\WKH

DFWLYHLQYROYHPHQWRI+RQLJDQG%UDXVHUZLWKWKHNQRZOHGJHDQGFRQVHQWRI6WHWVRQLQWKH

RSHUDWLRQVDQGSURPRWLRQRI&RPSDQ\$

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6HFXULWLHV$FW5XOHLQFRQQHFWLRQZLWKWKHLUGLVWULEXWLRQRI&RPSDQ\$VHFXULWLHV%HFDXVH

&RPSDQ\$GLGQRWWUDGHRQDQDWLRQDOVHFXULWLHVH[FKDQJHDVDIILOLDWHVRI&RPSDQ\$WKHVH




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'HIHQGDQWVFRXOGRQO\ODZIXOO\VHOORIWKHFRPSDQ\¶VWRWDOVKDUHVRXWVWDQGLQJLQDQ\WKUHH

PRQWKSHULRGSXUVXDQWWR6HFXULWLHV$FW5XOHH$VRI6HSWHPEHU&RPSDQ\$KDG

DSSUR[LPDWHO\PLOOLRQVKDUHVRXWVWDQGLQJDQGDVRI1RYHPEHULWKDGDSSUR[LPDWHO\

PLOOLRQVKDUHVRXWVWDQGLQJ+RQLJDQG%UDXVHUHDFKVROGVKDUHVLQH[FHVVRIRIWKHWRWDO

RXWVWDQGLQJVKDUHVGXULQJWKH6HSWHPEHUWKURXJK'HFHPEHUSHULRG

               4.       Honig’s, Brauser’s, Stetson’s and O’Rourke’s Post-Promotion Use of
                        Company A’s Assets and Marketable Securities for Their Personal
                        Benefit

               $IWHUSURILWLQJRQWKHLUVDOHVRI&RPSDQ\$VWRFNLQWRWKHLQIODWHGPDUNHWWKH\

KDGFUHDWHGZLWKWKHLUSDLGSURPRWLRQ+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNHFRQWLQXHGWRXVH

WKHLUFRQWURORYHU&RPSDQ\$IRUWKHLURZQHQULFKPHQW7KURXJKRXWWKHSHULRGSUHFHGLQJWKH

6HSWHPEHUSXPSDQGGXPSEHKLQGWKHVFHQHV+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNH

FRQVSLUHGWRVHOO&RPSDQ\$¶VDVVHWVWRDQRWKHULVVXHUWKH\FRQWUROOHG³&RPSDQ\0´

               (DFKRI+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNHKDGLQYHVWHGLQ&RPSDQ\0E\

WKHIDOORI+RQLJDQGDQRWKHUIUHTXHQWFRLQYHVWRUHDFKDOVRKHOGDOXFUDWLYHFRQVXOWLQJ

FRQWUDFWZLWK&RPSDQ\0DWOHDVWWKURXJK-XO\

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&RPSDQ\08VLQJWKDWLQIOXHQFH+RQLJDQG%UDXVHUDUUDQJHGIRU&RPSDQ\0WRPDNHD

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SURPLVVRU\QRWHZLWKDRQH\HDUWHUPDQGDLQWHUHVWUDWH7KHWHUPVRIWKLVQRWHDOVR

LQFOXGHGDZDUUDQWWRSXUFKDVH&RPSDQ\$VKDUHVIRUHLWKHUSHUVKDUHRURQD

FDVKOHVVEDVLVLQWKHHYHQWWKDWWKH&RPSDQ\$VKDUHVZHUHQRWUHJLVWHUHG8QGHU&RPSDQ\$¶V

DQDO\VLVWKHYDOXHRIWKHZDUUDQWDORQHZDVDOPRVWHYHQZLWKRXWLQFOXGLQJWKH

FDSDFLW\IRUWKHFRQYHUVLRQRIWKHYDOXHRIWKHQRWHSOXVLQWHUHVWLQWRVKDUHVPDNLQJWKLVGHDO




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H[WUDRUGLQDULO\IDYRUDEOHWR&RPSDQ\0DWWKHH[SHQVHRI&RPSDQ\$VKDUHKROGHUV

             2Q1RYHPEHUDIWHU+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNHKDGVROG

&RPSDQ\$VKDUHVIRUPLOOLRQVRIGROODUV&RPSDQ\$DQQRXQFHGWKDWLWZRXOGVHOOLWVDVVHWV

LQFOXGLQJLWVLQWHOOHFWXDOSURSHUW\DQGPDQXIDFWXULQJIDFLOLW\WR&RPSDQ\0LQUHWXUQIRU

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H[WUDRUGLQDU\WUDQVDFWLRQXQWLOLWZDVDQQRXQFHG

             :LWK&RPSDQ\$QRZVWULSSHGRILWVDVVHWVDQGUHQGHUHGDSXEOLFVKHOODQG

OHVVWKDQWZRPRQWKVDIWHU)RUGKDGEHHQFRPSHQVDWHGWRODXG&RPSDQ\$¶VSURVSHFWV+RQLJ

DQG%UDXVHUDUUDQJHGDUHYHUVHPHUJHURI&RPSDQ\$ZLWKDSULYDWHFRPSDQ\WKH³3ULYDWH

&RPSDQ\´LQZKLFKVRPHRIWKHLUFORVHFRLQYHVWRUDVVRFLDWHVKDGDVXEVWDQWLDORZQHUVKLS

LQWHUHVW8QGHUWKHWHUPVRIWKHPHUJHUDJUHHPHQW&RPSDQ\$VKDUHKROGHUVZRXOGRZQRI

WKHQHZO\FRPELQHGHQWLW\DQGWKHRZQHUVRIWKH3ULYDWH&RPSDQ\ZRXOGRZQRIWKH

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             2Q'HFHPEHU&RPSDQ\$ILOHGD)RUP.LQZKLFKLWGLVFORVHGD

FRQYHUVLRQRIQRWHVKHOGE\+RQLJDQG%UDXVHULQWRQHZO\LVVXHG&RPSDQ\$FRPPRQVWRFN

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VXSSRUWHGE\WKHQHZO\DFTXLUHG3ULYDWH&RPSDQ\DVVHWVDQG+RQLJDQG%UDXVHUPRQHWL]HG

WKRVHLQYHVWPHQWVLQVXEVHTXHQWSRVWPHUJHUVDOHVRIWKHLU&RPSDQ\$VKDUHVWRSXEOLFPDUNHW

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SXEOLFO\WUDGHGVKHOODVDQRWKHUYHKLFOHIRUWKHLUSXPSDQGGXPSVFKHPHV+RQLJDQGKLV

SDUWQHUVXVHGPDQ\RIWKHVDPHWDFWLFVWKH\KDGHPSOR\HGLQWKH&RPSDQ\$VFKHPHWKH\

ERXJKWPLOOLRQVRIFKHDSVKDUHVLQWHQGLQJWRH[HUFLVHFRQWURORYHUWKHPDQDJHPHQWDQGSROLFLHV

RIWKHFRPSDQ\H[HUFLVHGWKDWFRQWURORUFKHVWUDWHGDPLVOHDGLQJSURPRWLRQRIWKHFRPSDQ\WKDW

GURYHXSWKHSULFHDQGWKHWUDGLQJYROXPHRIWKHFRPSDQ\¶VVKDUHVDQGGXPSHGWKHLUVKDUHVIRU

DSURILWLQWKHLQIODWHGPDUNHW$VZLWK&RPSDQ\$&RPSDQ\%HQJDJHG,VVXHU¶V&RXQVHODV

FRPSDQ\FRXQVHO'HVSLWHWKHLUFRQWURORYHUYDULRXVDFWLRQVWDNHQE\&RPSDQ\%DQGWKHLUWDFLW

RUH[SOLFLWDJUHHPHQWWRDFTXLUHKROGYRWHDQGRUGLVSRVHRIWKHLUVKDUHVLQFRQFHUW+RQLJ

%UDXVHU6WHWVRQDQG2¶5RXUNHWRRNQXPHURXVVWHSVWRFRQFHDOWKHLULQYROYHPHQWDQGWR

SHUSHWXDWHWKHIDOVHDSSHDUDQFHWKDWWKHFRPSDQ\ZDVDFWXDOO\EHLQJFRQWUROOHGE\LWV&(2

               1.       Pre-2015 Investments in Company B by Honig, Brauser, Stetson and
                        O’Rourke

               %\&RPSDQ\%ZDVZHOONQRZQWR+RQLJ%UDXVHU6WHWVRQDQG

2¶5RXUNH±DQGWKH\ZHUHZHOONQRZQWR&RPSDQ\%¶V&(2/DGG±IURPDQHDUOLHUSXPSDQG

GXPSSHUSHWUDWHGE\+RQLJDQGKLVDVVRFLDWHVLQ

               ,Q2FWREHU+RQLJ$IILOLDWHDQG6WHWVRQKDGSXUFKDVHGFKHDS&RPSDQ\

%FRQYHUWLEOHSUHIHUUHGVKDUHVDQG\HDUZDUUDQWVWKURXJKDPLOOLRQ3,3(WUDQVDFWLRQ

+RQLJPDGHWKHWUDQVDFWLRQFRQWLQJHQWRQ&RPSDQ\%XVLQJIURPWKHFDSLWDOUDLVHWR

SURPRWH&RPSDQ\%¶VVWRFN$VZDV+RQLJ¶VSUDFWLFHKHGLFWDWHGWKHJURXSRILQYHVWRUVZKR

ZRXOGMRLQKLPLQFOXGLQJ$IILOLDWHDQG6WHWVRQ

               6WHWVRQZLWKWKHNQRZOHGJHDQGFRQVHQWRIWKH+RQLJOHGLQYHVWRUJURXSWKHQ

HQOLVWHG)RUGWRZULWHDSURPRWLRQDOSLHFHSXEOLVKHGRQWKHSeeking AlphaZHEVLWHRQ1RYHPEHU

ZKLFKWRXWHG&RPSDQ\%¶VSURVSHFWVIRUSURYLGLQJD³;QHDU7HUP5HWXUQ´DQG

SUHGLFWLQJWKDW&RPSDQ\%¶VVWRFNFRXOGULVHWRDVKDUHQHDUO\WULSOHLWVSULFHRQWKH



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       Case 1:18-cv-08175-ER Document 105 Filed 03/08/19 Page 42 of 100
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SUHYLRXVWUDGLQJGD\)RUG¶VSURPRWLRQDOSLHFHIDLOHGWRGLVFORVHWKHFRPSHQVDWLRQKHKDG

UHFHLYHGIURP+RQLJLQVWHDGDVVXULQJLQYHVWRUVWKDWKHZDV³H[SUHVV>LQJ@KLVRZQRSLQLRQV´DQG

ZDVQRW³UHFHLYLQJFRPSHQVDWLRQIRULWRWKHUWKDQIURP6HHNLQJ$OSKD´

             :KHQDIWHU)RUG¶VSLHFHZDVSXEOLVKHG&RPSDQ\%¶VVWRFNSULFHIDLOHGWR

UHDFKWKHOHYHOGHVLUHGE\WKH+RQLJOHGJURXS+RQLJGLUHFWHG6WHWVRQDQGRU2¶5RXUNHWRUHWDLQ

)RUGWRZULWHDQRWKHUSeeking AlphaDUWLFOHRQ&RPSDQ\%$W+RQLJ¶VGLUHFWLRQLQ1RYHPEHU

6WHWVRQVROG)RUG&RPSDQ\%VKDUHVDQGZDUUDQWVDWDGLVFRXQWLQSD\PHQWIRU)RUG¶V

SODQQHGDUWLFOHVRQ&RPSDQ\%/DGGNQHZWKDW)RUGKHOGWKHVHVKDUHVDQGKDGREWDLQHGWKHP

IURPVRPHRQHZKRKDGSDUWLFLSDWHGLQWKH3,3(WUDQVDFWLRQEHFDXVH)RUGZDVOLVWHGDVRQHRI

WKHVHOOLQJVKDUHKROGHUVRI&RPSDQ\%¶VVWRFNLQLWV1RYHPEHU)RUP65HJLVWUDWLRQ

6WDWHPHQWVLJQHGE\/DGG

             ,QKLVVHFRQGSeeking AlphaDUWLFOHSXEOLVKHGRQ$SULO)RUGWRXWHG

&RPSDQ\%¶VLPPLQHQWVHWWOHPHQWRIDSDWHQWHQIRUFHPHQWDFWLRQWKDWZRXOGEULQJ&RPSDQ\%D

VXEVWDQWLDOUHFRYHU\)RUGDJDLQSUHGLFWHGDVLJQLILFDQWVWRFNSULFHMXPSDQGDJDLQIDLOHGWR

GLVFORVHWKDWKHKDGEHHQFRPSHQVDWHGSXUVXDQWWRKLVDJUHHPHQWZLWK+RQLJ/DGGNQHZWKDW

)RUG¶VSUHGLFWLRQZDVIDOVHVLQFH&RPSDQ\%¶VSDWHQWHQIRUFHPHQWDFWLRQZDVQRWRQWKHEULQN

RIVHWWOHPHQW7KLVWLPH)RUG¶VDUWLFOHKDGWKHGHVLUHGHIIHFWSXVKLQJ&RPSDQ\%¶VVKDUHSULFH

IURPRQ$SULOWRDOPRVWRQ$SULODQGLQFUHDVLQJWUDGLQJYROXPH

VLJQLILFDQWO\&RPSDQ\%¶VPDUNHWFDSLWDOL]DWLRQZHQWIURPXQGHUPLOOLRQRQ$SULO

WRRYHUPLOOLRQRQ$SULO+RQLJVROGDSSUR[LPDWHO\VKDUHVLQWRWKH

LQIODWHGPDUNHWHDUQLQJ

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DJUHHGWREHLQWHUYLHZHGE\)RUGIRUWKH1RYHPEHUSeeking AlphaDUWLFOHDQGVSRNHWR




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)RUGVHYHUDOWLPHVEHIRUHWKHDUWLFOH¶VSXEOLFDWLRQ+HDOVRNQHZRUZDVUHFNOHVVLQQRW

NQRZLQJWKDW)RUGKDGDFRQQHFWLRQWR+RQLJDQGKLVJURXSEHFDXVHKHUHFHLYHGHPDLOVDERXW

)RUG¶V&RPSDQ\%LQYHVWPHQWIURP6WHWVRQLQHDUO\/DGGNQHZWKDW)RUG¶V$SULO

DUWLFOHKDGVXFFHVVIXOO\ERRVWHG&RPSDQ\%¶VVWRFNSULFH$QG/DGGNQHZRUZDVUHFNOHVVLQ

QRWNQRZLQJWKDW)RUGZDVEHLQJFRPSHQVDWHGE\+RQLJDQGKLVDVVRFLDWHVDQGWKDWKHZDV

FRQFHDOLQJWKDWIDFWIURPKLVSeeking AlphaUHDGHUVLQWKH$SULODUWLFOHMXVWDVKHKDG

FRQFHDOHGLWLQKLV1RYHPEHUDUWLFOH

               +RQLJ6WHWVRQDQG2¶5RXUNHDOVRNQHZRUZHUHUHFNOHVVLQQRWNQRZLQJWKDW

)RUG¶V$SULODUWLFOHIDLOHGWRGLVFORVHWKHFRPSHQVDWLRQKHZDVUHFHLYLQJIURP+RQLJ7KH\

HDFKDOVRNQHZRUZHUHUHFNOHVVLQQRWNQRZLQJWKDWWKHDUWLFOHIDOVHO\FODLPHGWKDW&RPSDQ\%

ZDVLQVHWWOHPHQWWDONVDQGRQWKHEULQNRIDOXFUDWLYHVHWWOHPHQWZKHQLWZDVQRW,QGHHGWKH

RQO\VHWWOHPHQW&RPSDQ\%UHDFKHGLQLWVSDWHQWODZVXLWVZDVDVLQJOHUHFRYHU\PDQ\

PRQWKVDIWHUWKH$SULO)RUGDUWLFOHKDGEHHQSXEOLVKHG

             2.       Honig and Associates Amass Company B Shares in 2015-2016

               ,Q+RQLJDQGKLVDVVRFLDWHVEHJDQSODQQLQJDQHZVFKHPHWRSXPSDQG

GXPS&RPSDQ\%¶VVKDUHV+RQLJVHWWKHVFKHPHLQPRWLRQRQ6HSWHPEHUZKHQKH

HPDLOHG6WHWVRQ³:HQHHGWRSXWWRJHWKHUDWHUPVKHHWIRU>&RPSDQ\%@VLPLODURQHWRWKH

>&RPSDQ\%@RQHZHXVHGWKHILUVWWLPH´DQGRXWOLQHGSURSRVHGWHUPVRIDQLQYHVWPHQWGHDO

7KHWHUPVLQFOXGHGVSHFLILFSURYLVLRQVGHVLJQHGIRU+RQLJDQGKLVLQYHVWRUJURXSWRKDYHDFFHVV

WRVKDUHVTXLFNO\ZDUUDQWVIRUPRUHVKDUHVRQIDYRUDEOHWHUPVDQGWKHDELOLW\WRUHVWULFW

&RPSDQ\%¶VDELOLW\WRUDLVHRWKHUIXQGV

               2Q6HSWHPEHU+RQLJGLUHFWHG6WHWVRQWRVHQGWKHSURSRVDOWR/DGG

&RPSDQ\%¶V&(27KHGHDOFRQWHPSODWHGWKHLVVXDQFHRIPLOOLRQ&RPSDQ\%VKDUHVDORQJ




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ZLWKZDUUDQWVWRDFTXLUHDQDGGLWLRQDOPLOOLRQVKDUHVVXEMHFWWRDFRQYHUVLRQEORFNHU

7KLVGHDOVWUXFWXUHDOORZHGWKHLQYHVWRUVUHSHDWHGO\WRFRQYHUWDQGVHOOWKHLUVKDUHVZKLOH

DSSHDULQJLQGLYLGXDOO\WRVWD\EHORZWKHWKUHVKROGRZQHUVKLSDWZKLFK([FKDQJH$FW6HFWLRQ

GUHTXLUHGSXEOLFGLVFORVXUHRIKROGLQJV%\RVWHQVLEO\VWD\LQJEHORZWKHRZQHUVKLS

WKUHVKROGDQGHYDGLQJWKHSXEOLFUHSRUWLQJUHTXLUHPHQWV+RQLJDQGKLVDVVRFLDWHVLQFUHDVHGWKH

OLNHOLKRRGWKDWWKH\FRXOGFRQFHDOWKHPLOOLRQVRIVKDUHVWKDWWKH\KDGDPDVVHGDQGWKHUHE\PDVN

WKHLUVFKHPHWRSXPSXSWKH&RPSDQ\%VKDUHSULFHDQGWUDGLQJYROXPHLQDQWLFLSDWLRQRID

SURILWDEOHVHOORIIWRXQVXVSHFWLQJLQYHVWRUV

              2Q2FWREHU/DGGHPDLOHG+RQLJWKDW³1<6(0.7ZDQWVWRNQRZWKH

EX\HUV[LQYHVWRUVZLOOEHHDFKDW´+RQLJUHSOLHGWKDWVDPHGD\FRS\LQJ

%UDXVHUDQG6WHWVRQWKDWKHZRXOG³JHWEDFNWR\RXZLWKQDPHVVKRUWO\IRUQRZXVH%DUU\+RQLJ

0LNH%UDXVHU>DQG@2%$1>DQ//&FUHDWHGE\6WHWVRQ@´2Q2FWREHU6WHWVRQSURYLGHG

&RPSDQ\%ZLWKWKHLQYHVWRUV+RQLJKDGVHOHFWHGWRSDUWLFLSDWHLQWKHILQDQFLQJZKLFKLQFOXGHG

*54+RQLJ*UDQGHU%UDXVHU6&,6WHWVRQDQG$7*2¶5RXUNHDVZHOODVRWKHU+RQLJ

DSSURYHGLQYHVWRUV2YHUWKHQH[WIHZGD\V+RQLJFRQWLQXHGWRQHJRWLDWHWKHWHUPVRIKLVDQG

KLVLQYHVWRUV¶GHDOZLWK/DGG

              7KH+RQLJOHGILQDQFLQJXOWLPDWHO\SURYLGHGWR&RPSDQ\%WKH

³2FWREHU&RPSDQ\%)LQDQFLQJ´2Q2FWREHU&RPSDQ\%ILOHGD)RUP.

ZLWKWKH&RPPLVVLRQGLVFORVLQJWKDWWKHFRPSDQ\KDG³HQWHUHGLQWRVHSDUDWHVXEVFULSWLRQ

DJUHHPHQWVZLWKDFFUHGLWHGLQYHVWRUVUHODWLQJWRWKHLVVXDQFHDQGVDOHRIRI

XQLWV´7KH)RUP.GLGQRWGLVFORVHWKHLQYHVWRUV¶LGHQWLWLHV

              /DGGNQHZWKDW+RQLJWKURXJK*54%UDXVHUWKURXJK*UDQGHU6WHWVRQ

WKURXJK6&,DQG2¶5RXUNHWKURXJK$7*DQGRWKHU+RQLJDIILOLDWHVZHUHRSHUDWLQJDVD




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JURXSWKDWWKH\KDGDFTXLUHG&RPSDQ\%VKDUHVWRJHWKHUDQGWKDWWKH\ZHUHFROOHFWLYHO\

H[HUFLVLQJFRQWURORYHUWKHFRPSDQ\,Q1RYHPEHU/DGGZURWH+RQLJ³$VIRUWKHFDS

WDEOHZHKDYHPLOOLRQFRPPRQVKDUHVRXWVWDQGLQJLQFOXGLQJ\RXUJURXS¶VPLOOLRQ

´HPSKDVLVDGGHG/DGGQRQHWKHOHVVIDLOHGWRGLVFORVH+RQLJ¶V%UDXVHU¶V6WHWVRQ¶VDQG

2¶5RXUNH¶VFRPELQHGLQWHUHVWLQDQGFRQWURORYHUWKHFRPSDQ\LQ&RPSDQ\%¶VSXEOLFILOLQJV

             3.       The Company B Pump and Dump in February 2016

               +DYLQJFRRUGLQDWHGWKHDFFXPXODWLRQRIVWRFNZLWK%UDXVHU6WHWVRQDQG

2¶5RXUNH+RQLJZLWKKLVSDUWQHUV¶NQRZOHGJHDQGFRQVHQWWKHQDUUDQJHGIRUDSURPRWLRQWKDW

LQFOXGHGPDWHULDOO\PLVOHDGLQJLQIRUPDWLRQ

               2QRUDURXQG-DQXDU\E\ZKLFKWLPH+RQLJ%UDXVHU6WHWVRQ

2¶5RXUNHDQG$IILOLDWHWKURXJK$IILOLDWH(QWLW\KDGDFTXLUHGDWOHDVWRI&RPSDQ\%¶V

RXWVWDQGLQJVWRFN+RQLJGLUHFWHG/DGGWRZLUHWRDZHOONQRZQVWRFNSURPRWHUDVDQ

XSIURQWSD\PHQWIRUWKHSURPRWLRQRI&RPSDQ\%6KRUWO\WKHUHDIWHUWKHVWRFNSURPRWHUSDLGD

SRUWLRQRIWKHPRQH\KHKDGUHFHLYHGIURP&RPSDQ\%WRDZULWHUKHLQVWUXFWHGWRSXEOLVKDWRXW

RQ&RPSDQ\%2Q)HEUXDU\WKHZULWHUSXEOLVKHGKLVSLHFHRQOLQH,QLWKHGHVFULEHG

&RPSDQ\%¶VURV\SURVSHFWVLQVRFLDODQG³UHDOPRQH\´JDPLQJVLWHVDQGLQWHOOHFWXDOSURSHUW\

UHODWLQJWRVORWPDFKLQHV7KHDUWLFOHGLGQRWGLVFORVHWKDWWKHDXWKRUKDGEHHQSDLGE\&RPSDQ\

%±DW+RQLJ¶VGLUHFWLRQ±WRZULWHWKHDUWLFOH$IWHUWKHDUWLFOHZDVSXEOLVKHGRQ)HEUXDU\

WKHUHZDVDLQFUHDVHIURP&RPSDQ\%¶VSUHYLRXVGD\¶VWUDGLQJYROXPHDQGDQ

LQWUDGD\SULFHLQFUHDVHRIRYHU

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DSSHDUDQGHDFKHLWKHUNQHZRUZDVUHFNOHVVLQQRWNQRZLQJWKDWWKHDUWLFOH¶VDXWKRUIDLOHGWR

GLVFORVHWKDWKHZDVEHLQJFRPSHQVDWHGE\&RPSDQ\%WRZULWHLW+RQLJ/DGG6WHWVRQDQG




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2¶5RXUNHWRRNDGYDQWDJHRIWKHSURPRWLRQ¶VERRVWWR&RPSDQ\%¶VVWRFNSULFHDQGWUDGLQJ

YROXPHDQGVROGRYHUVKDUHVLQWRWKLVLQIODWHGPDUNHWIRUSURFHHGVRIDSSUR[LPDWHO\

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           &RPSDQ\%3XPSDQG'XPS3URFHHGV)ROORZLQJ)HEUXDU\3URPRWLRQ
    'HIHQGDQWV            7UDGH'DWHV 1HW4XDQWLW\6ROG 3URFHHGV
    +RQLJDQG*54         ±                   
    6WHWVRQ              ±                   
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    7RWDO                                             
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                 4.       The Company B Pump and Dump in May 2016
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                 +RQLJVRRQLGHQWLILHGDSRWHQWLDODFTXLVLWLRQWDUJHWIRU&RPSDQ\%WKDWZRXOG

JLYH+RQLJDQGKLVDVVRFLDWHVDQRWKHUZD\WRSURILWIURPWKHLULQWHUHVWLQ&RPSDQ\%7KH

SURSRVHGGHDOLQYROYHGDZHOONQRZQF\EHUVHFXULW\LQQRYDWRUZKRKDGFUHDWHGDSRSXODU

DQWLYLUXVVRIWZDUHEHDULQJKLVQDPHWKH³&\EHUVHFXULW\,QQRYDWRU´

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6WHWVRQ2¶5RXUNHWRRNWKHOHDGLQDUUDQJLQJDGHDOEHWZHHQ&RPSDQ\%DQGWKH&\EHUVHFXULW\

,QQRYDWRU2Q0DUFK2¶5RXUNHVHQWWKH&\EHUVHFXULW\,QQRYDWRUDWHUPVKHHWIRUWKH

DVVHWSXUFKDVHRI&\EHUVHFXULW\,QQRYDWRU¶VFRPSDQ\³&,&RPSDQ\´E\D³1<6(OLVWHG

FRPSDQ\´$IWHU&,&RPSDQ\LQGLFDWHGLQWHUHVWRQ$SULO2¶5RXUNHZURWHWR+RQLJRQ

$SULODQGDVNHG+RQLJLIKHZRXOG³VWLOOZDQWWRSXUVXH>&\EHUVHFXULW\,QQRYDWRU@GHDO´

+RQLJUHSOLHGWR2¶5RXUNHWKDWVDPHGD\³<HD´2¶5RXUNHLQWURGXFHG/DGGWRWKH

&\EHUVHFXULW\,QQRYDWRURQ$SULOWREHJLQQHJRWLDWLQJDWUDQVDFWLRQEHWZHHQ&RPSDQ\%

DQGWKH&\EHUVHFXULW\,QQRYDWRU¶VYDULRXVEXVLQHVVLQWHUHVWV

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RUFKHVWUDWLQJWKHGHDO&RPSDQ\%DQGWKH&\EHUVHFXULW\,QQRYDWRUDJUHHGWRWHUPVRQ0D\

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LWVPHUJHUZLWK&,&RPSDQ\DQGDWWDFKHGLWWRD)RUP.VLJQHGE\/DGGILOHGWKDWVDPHGD\

ZLWKWKH&RPPLVVLRQ7KHSUHVVUHOHDVHPLVOHDGLQJO\GHVFULEHGWKH&\EHUVHFXULW\,QQRYDWRU¶V

SULRUILQDQFLDOVXFFHVVE\IDOVHO\FODLPLQJWKDWWKH&\EHUVHFXULW\,QQRYDWRUKDG³VROGKLVDQWL

YLUXVFRPSDQ\WR,QWHOIRUELOOLRQ´VXJJHVWLQJWKDW&RPSDQ\%PLJKWDFKLHYHVLPLODU

VXFFHVV<HWDV/DGGNQHZRUZDVUHFNOHVVLQQRWNQRZLQJWKHVDOHRIWKH&\EHUVHFXULW\

,QQRYDWRU¶VQDPHVDNHFRPSDQ\WR,QWHODWWKDWSULFHKDGRFFXUUHGRYHUDGHFDGHDIWHUWKH

&\EHUVHFXULW\,QQRYDWRU¶VGHSDUWXUHIURPWKDWFRPSDQ\

             .QRZLQJWKDW&RPSDQ\%¶VPLVOHDGLQJDQQRXQFHPHQWRIWKHGHDOZRXOGEH

GLVVHPLQDWHGODWHUWKDWPRUQLQJRQ0D\+RQLJWUDGHGLQ&RPSDQ\%VWRFNWRFUHDWHWKH

PLVOHDGLQJDSSHDUDQFHRIDQDFWLYHPDUNHW,QSUHPDUNHWWUDGLQJWKDWPRUQLQJ+RQLJERXJKW

DQGVROGVPDOOTXDQWLWLHVRI&RPSDQ\%VWRFNGR]HQVRIWLPHV-RLQLQJWKHHIIRUWWRSDLQWDIDOVH

SLFWXUHRIOHJLWLPDWHPDUNHWLQWHUHVWLQWKHVWRFN%UDXVHUHQJDJHGLQFRRUGLQDWHGWUDGHVLQ

&RPSDQ\%VWRFNZLWK+RQLJLQWUDGLQJHDUO\WKDWPRUQLQJ

             7KDWVDPHGD\6WRFN%HDVWFRPDZHOONQRZQLQWHUQHWVWRFNSURPRWLRQ

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6WRFN%HDVWFRPIRUWKHDUWLFOHWRHQVXUHDZLGHGLVWULEXWLRQRIWKHQHZVRIWKHLPSHQGLQJPHUJHU

ZLWKWKH&,&RPSDQ\7KH6WRFN%HDVWFRPDUWLFOHWRXWHG&RPSDQ\%DQGKLJKOLJKWHGWKH

&\EHUVHFXULW\,QQRYDWRU¶VLQYROYHPHQWSURFODLPLQJ³7KLVLVELJELJELJ´,WDOVRUHSHDWHG

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,QQRYDWRUKDG³VROGKLVVWDUWXSFRPSDQ\WR,QWHOIRU%%´

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DQGDFORVLQJVKDUHSULFHRI2Q0D\WKHVWRFNFORVHGDWUHSUHVHQWLQJDQ

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VKDUHV7KHWUDGLQJYROXPHIRU&RPSDQ\%VWRFNSHDNHGDWVKDUHVRQ0D\

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PLOOLRQ&RPSDQ\%VKDUHV,QRUGHUWRPD[LPL]HWKHLU&RPSDQ\%SURILWV+RQLJ%UDXVHU

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H[HUFLVHWKHLUZDUUDQWVHDUO\JLYLQJWKHPPRUHVKDUHVWRVHOOLQWRWKHLQIODWHGPDUNHW/DGG

IDFLOLWDWHGWKLVZDUUDQWH[HUFLVHDQG+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNHZHUHDEOHWRGXPS

PLOOLRQVPRUHVKDUHVWKDQWKH\RWKHUZLVHFRXOGKDYH/DGGMRLQHGWKHPLQVHOOLQJVKDUHVGXULQJ

WKLVSHULRGFDSLWDOL]LQJRQWKHIDOVHSXEOLFLW\KHKDGNQRZLQJO\RUUHFNOHVVO\KHOSHGWRFUHDWH

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           &RPSDQ\%3XPSDQG'XPS3URFHHGV)ROORZLQJ0D\3URPRWLRQ
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SULFHDQGWUDGLQJYROXPHRI&RPSDQ\%¶VVWRFN,QLWV0D\)RUP4VLJQHGE\

/DGGDQGILOHGZLWKWKH&RPPLVVLRQ&RPSDQ\%VWDWHG³>7KH&\EHUVHFXULW\,QQRYDWRU@

IRXQGHG>&\EHUVHFXULW\,QQRYDWRU¶VFRPSDQ\@LQZKLFKZDVDFTXLUHGE\,QWHO&RUSRUDWLRQ

IRUELOOLRQLQ´:KLOHWKHQHZGLVFORVXUHRPLWWHGWKHSULRUIDOVHFODLPWKDWWKH

&\EHUVHFXULW\,QQRYDWRUKDGVROGKLVFRPSDQ\WR,QWHOWKH0D\)RUP4IDLOHGWR

DFNQRZOHGJHWKHSULRUPLVVWDWHPHQWLQWKH&RPSDQ\¶V0D\)RUP.DQGSUHVVUHOHDVH

DQGIDLOHGWRGLVFORVHWKDWWKH&\EHUVHFXULW\,QQRYDWRUKDGOHIWKLVFRPSDQ\\HDUVSULRUWRLWV

PXOWLELOOLRQGROODUVDOHWR,QWHO,QDQ\HYHQWWKHSXUSRUWHGO\FODULI\LQJGLVFORVXUHFDPHZHOO

DIWHUWKH+RQLJDVVRFLDWHGLQYHVWRUVDQG/DGGKLPVHOIKDGDOUHDG\SURILWHGIURPWKHPLVOHDGLQJ

SUHVVUHOHDVH%\WKDWWLPH+RQLJ*54%UDXVHU*UDQGHU6WHWVRQ6&,2¶5RXUNH$7*

DQG/DGGKDGDOUHDG\VROGWKHLU&RPSDQ\%VKDUHVLQWRWKHLQIODWHGPDUNHW

               5.       False Statements by Honig, Brauser, Stetson, O’Rourke and Ladd in
                        Beneficial Ownership Reports and Company B Filings
               $OWKRXJKWKH\ZHUHDFWLQJLQFRQFHUWDQGSXUVXDQWWRDQDJUHHPHQWWRGRVR

+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNHNQRZLQJO\RUUHFNOHVVO\FRQFHDOHGWKHLUFRQFHUWHGHIIRUWV


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IURPWKHLQYHVWLQJSXEOLF/DGGZLWKIXOONQRZOHGJHRIERWKWKH+RQLJLQYHVWRUV¶VWRFN

RZQHUVKLSDQGWKHLUFROOHFWLYHGLUHFWLRQRIWKHPDQDJHPHQWDQGSROLFLHVRI&RPSDQ\%DOVR

NHSWWKHLUFRQWURODVHFUHWVLJQLQJ&RPSDQ\%SXEOLFILOLQJVWKDWGLGQRWGLVFORVHWKHIXOOH[WHQW

RIWKHLURZQHUVKLSRUFRQWURO

             $IWHUWKH2FWREHU&RPSDQ\%)LQDQFLQJFORVHG+RQLJ%UDXVHU6WHWVRQ

DQG2¶5RXUNHFROOHFWLYHO\RZQHGDWOHDVWPLOOLRQVKDUHVRURYHURIWKHVKDUHV

RXWVWDQGLQJDVUHSRUWHGLQ&RPSDQ\%¶V$XJXVW)RUP4DIWHUWKHLVVXDQFHDQG

WKHLUREOLJDWLRQWRILOHD6FKHGXOH'XQGHU([FKDQJH$FW6HFWLRQGDURVHDVRI2FWREHU

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DGGLWLRQDOPLOOLRQ&RPSDQ\%VKDUHVZKLFKLIWKH\ZHUHDOOFRQYHUWHGZRXOGKDYHUHVXOWHG

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FRPPRQVKDUHVRXWVWDQGLQJDWWKDWWLPH

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IRUDQGUHFHLYHG+RQLJ¶VGLUHFWLRQZLWKUHVSHFWWRKRZWRGLVFORVHWKH+RQLJJURXS¶VVWRFN

DFTXLVLWLRQVWRWKH1<6(0.7H[FKDQJH2¶5RXUNHDW+RQLJ¶VGLUHFWLRQQHJRWLDWHGRQ

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>KDGWKH@UHODWLRQVKLSZLWK>WKH&\EHUVHFXULW\,QQRYDWRU@´,QHDUO\$XJXVW+RQLJ

FHOHEUDWHGKLVXQGLVFORVHGUROHDW&RPSDQ\%LQDFKDWFRQYHUVDWLRQZLWK6WHWVRQ³LWVJUHDWLQ




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>&RPSDQ\%@EHFDXVHZHDUHEHKLQGWKHVFHQHV´

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DUWLFOHLQBusiness InsiderWKHDXWKRUTXRWHG%UDXVHUDQGUHSRUWHG³µ,KDGQRLGHD

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VKDUHVLQFRRUGLQDWLRQZLWKRQHDQRWKHUHDFKRI+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNHZDVD

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JURXSPHPEHUVHDFKLQGLYLGXDOZDVUHTXLUHGWRVDWLVI\WKHJURXS¶VUHSRUWLQJREOLJDWLRQE\

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PHPEHUVKLSLQDJURXSDFWLQJLQWHQWLRQDOO\WRFRQFHDOIURPWKHPDUNHWWKHVL]HRIWKHLUJURXS¶V

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YLDKLVHQWLW\*UDQGHU,QHDFKRIWKHVHILOLQJV+RQLJDQG%UDXVHUDOVRIDOVHO\FODLPHGWKDWWKH\

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PRQWKVHDUOLHULQ)HEUXDU\+RQLJDQG%UDXVHUKDGILOHGDODZVXLWLQ+DUULV&RXQW\7H[DV

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UHTXLVLWH*ILOLQJVIRUWKHPRUHWKDQSRVLWLRQWKH\FRQWUROOHGDVDJURXSDQGWKDWWKDW

IDLOXUHFRQVWLWXWHGDPDWHULDORPLVVLRQWKDWGHIUDXGHG+RQLJDQG%UDXVHULQWKHLUSXUFKDVHRI

VHFXULWLHVIURPWKRVHGHIHQGDQWV,QWKHLU&RPSODLQWLQWKDWODZVXLWBrauser v. Sanders Morris

Harris, Inc.1R7H['LVW&WILOHG)HEUXDU\+RQLJDQG%UDXVHU

DOOHJHG




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          >,@QIRUPDWLRQUHJDUGLQJDVLJQLILFDQWEHQHILFLDORZQHUVKLSLQWHUHVWLQ>WKHLVVXHU¶V
          VWRFN@ZDVPDWHULDO,WLVWKHNLQGRILQIRUPDWLRQWKDWWKH6(&UHTXLUHVWREHGLVFORVHG
          LQFRQQHFWLRQZLWKVROLFLWDWLRQVIRUPHUJHUVDQGLQYDULRXVRWKHUILOLQJVe.g.
          6FKHGXOHV'DQGRU*SUHFLVHO\EHFDXVHRILWVPDWHULDOLW\'HIHQGDQWV¶IDLOXUHWR
          GLVFORVHWRSODLQWLIIVWKHLUVLJQLILFDQWEHQHILFLDORZQHUVKLSLQWHUHVWLQ>WKHLVVXHU@LV
          DPDWHULDODQGPDWHULDOO\PLVOHDGLQJRPLVVLRQ3ODLQWLIIVZRXOGQRWKDYH
          SXUFKDVHGWKH6KDUHVLIWKH\KDGNQRZQWKHXQGLVFORVHGIDFWVWKDW>GHIHQGDQWV@
          FRQWUROOHGVXFKDODUJHLQWHUHVWLQ>WKHLVVXHU¶V@VWRFN
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               ,QHPDLOH[FKDQJHVOHDGLQJXSWRLWVILOLQJ+RQLJDQG%UDXVHUGLVFXVVHGGUDIWV

RIWKH&RPSODLQWDQGFLUFXODWHGWKHPWR6WHWVRQDQG2¶5RXUNH±QRQSDUWLHVWRWKHODZVXLW±

VHHNLQJWKHLUFRPPHQWV+RQLJDQG%UDXVHUDOVRGLVFXVVHGZLWK6WHWVRQDQG2¶5RXUNHHDFKRI

WKHLUUHVSHFWLYHXQGHUVWDQGLQJVRIWKHUHTXLUHPHQWVLPSRVHGE\([FKDQJH$FW6HFWLRQG

1RQHWKHOHVVDQGGHVSLWHWKHLUXQGHUVWDQGLQJRIZKDW6HFWLRQGUHTXLUHGWKHPWRGLVFORVHDQG

KRZDQGZK\WKRVHGLVFORVXUHVZHUHPDWHULDOWRLQYHVWRUVQHLWKHU+RQLJQRU%UDXVHU6WHWVRQRU

2¶5RXUNHPDGHWKHUHTXLVLWHILOLQJVZLWKUHVSHFWWR&RPSDQ\%

               6LPLODUO\&RPSDQ\%¶V)RUP.ILOHGZLWKWKH&RPPLVVLRQRQ$SULO

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NQHZWKDW+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNH ZHUHZRUNLQJWRJHWKHUDVDJURXSKHVLJQHG

WKH)RUP.IDLOLQJWRGLVFORVHWKHLUJURXS¶VEHQHILFLDORZQHUVKLS/DGGDOVRVLJQHGD

PDWHULDOO\PLVOHDGLQJ1RYHPEHU)RUP6UHJLVWUDWLRQVWDWHPHQWILOHGZLWKWKH

&RPPLVVLRQIRUWKH&RPSDQ\%VKDUHVLVVXHGLQWKH2FWREHU&RPSDQ\%

)LQDQFLQJIDLOLQJWRGLVFORVHWKHJURXSEHQHILFLDORZQHUVKLSRI*54*UDQGHU$7*DQG6&,

       ' 7KH&RPSDQ\&6FKHPH

               1.       Honig and Stetson Obtain Control of Company C

               ,QHDUO\+RQLJLGHQWLILHGDSXEOLFO\WUDGHGVKHOOFRPSDQ\WKDWZDV

XQHQFXPEHUHGE\GHEWDQGVRXJKWDQDSSURSULDWHSULYDWHFRPSDQ\IRUSXUSRVHVRIDUHYHUVH

PHUJHUDQGSXPSDQGGXPSVFKHPH:KLOH+RQLJSUHIHUUHG³µ$FWVKHOOV´±QDPHO\SXEOLF



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FRPSDQLHVWKDWZRXOGQRWEHVXEMHFWWR([FKDQJH$FW6HFWLRQGUHSRUWLQJREOLJDWLRQV±LQ

ODWHU\HDUVWKRVHVKHOOVEHFDPHWRRH[SHQVLYHDQGWKHVKHOOKHLGHQWLILHGLQHDUO\ZDVD

³µ$FWVKHOO´VXEMHFWWR6HFWLRQGUHSRUWLQJ

             $WRUDERXWWKHVDPHWLPHDV+RQLJLGHQWLILHGWKHVKHOOWKH&(2RISULYDWHO\

KHOG&RPSDQ\&³&RPSDQ\&¶V&(2´ZDVORRNLQJIRUIXQGLQJIRULWVUHVHDUFKDQG

GHYHORSPHQWHIIRUWVLQFDQFHUWKHUDSLHVDQGGLDJQRVWLFSURGXFWV&RPSDQ\&¶V&(2ZDV

LQWURGXFHGWR³(QWLW\+´DKHGJHIXQGWKDWIUHTXHQWO\LQYHVWHGDORQJVLGH+RQLJDQG%UDXVHU

(QWLW\+VXJJHVWHGWR&RPSDQ\&¶V&(2WKDWKHWXUQ&RPSDQ\&LQWRDSXEOLFFRPSDQ\E\

HQJDJLQJLQDUHYHUVHPHUJHUZLWKDSXEOLFVKHOO$OWKRXJK&RPSDQ\&¶V&(2GLGQRWNQRZLW

WKHSXEOLFVKHOO(QWLW\+KDGLQPLQGZDVRQHWKDW+RQLJKDGLGHQWLILHG&RPSDQ\&¶V&(2

DJUHHGWRSURFHHGZLWKWKHUHYHUVHPHUJHU(QWLW\+KDGVXJJHVWHG

             ,QDQLQLWLDOPLOOLRQFDSLWDOUDLVHLQ)HEUXDU\LQFRQQHFWLRQZLWKWKH

FRQWHPSODWHGPHUJHUZLWK&RPSDQ\&+6&,±DFRPSDQ\6WHWVRQIDOVHO\LGHQWLILHGDVKLVRZQ

WR&RPSDQ\&¶V&(2±LQYHVWHGPLOOLRQDQG(QWLW\+LQYHVWHGPLOOLRQLQUHWXUQIRUD

VXEVWDQWLDOSRVLWLRQLQWKHVKHOO,QIDFWZKLOH6WHWVRQZDVWKHVROHQDPHGPDQDJLQJPHPEHURI

+6&,+RQLJDFWXDOO\GLUHFWHGDQGFRQWUROOHG+6&,¶VLQYHVWPHQWGHFLVLRQVDIDFWWKDW6WHWVRQ

GLGQRWGLVFORVHWR&RPSDQ\&¶V&(2RUWRWKHPDUNHW

             6RRQDIWHU6WHWVRQKDGLQWURGXFHG+6&,DVKLVFRPSDQ\KRZHYHU&RPSDQ\

&¶V&(2OHDUQHGWKDW+RQLJZDVDFWXDOO\EHKLQGWKH+6&,LQYHVWPHQW,QDSSUR[LPDWHO\$SULO

ZKHQ+RQLJILUVWFDOOHGXS&RPSDQ\&¶V&(2+RQLJDQQRXQFHGLQZRUGVRUVXEVWDQFH

³,¶PWKHRZQHURI\RXUFRPSDQ\<RXEHWWHUGRZKDW,WHOO\RXWRGR´7KHUHDIWHU+RQLJEHJDQ

SHSSHULQJ&RPSDQ\&¶V&(2ZLWKIUHTXHQWWHOHSKRQHFDOOVGHPDQGLQJYDULRXVFRUSRUDWH

DFWLRQVLQFOXGLQJGLUHFWLQJFKDQJHVWRWKHFRPSRVLWLRQRIWKH&RPSDQ\&%RDUGWKH




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HQJDJHPHQWRI,VVXHU¶V&RXQVHODQGWKHUHWHQWLRQRISXEOLFUHODWLRQVFRQVXOWDQWVIDYRUHGE\

+RQLJDVGHVFULEHGEHORZ&RPSDQ\&¶V&(2LQQHHGRIIXQGLQJIRUKLVFRPSDQ\WRRNWKRVH

FDOOVDQGRIWHQDFFHGHGWR+RQLJ¶VGHPDQGV

              6RPHWLPHV+RQLJZRUNHGZLWK6WHWVRQWRH[HUWKLVLQIOXHQFHRYHU

PDQDJHPHQW$VHDUO\DV0D\IRUH[DPSOH6WHWVRQHPDLOHG&RPSDQ\&¶V&(2WRJHW

XSGDWHVRQ³,5DQG35´6WHWVRQZDVUHIHUULQJWRLQYHVWRUUHODWLRQV³,5´DQGSXEOLFUHODWLRQV

³35´DQGZDVSUHVVLQJKLVDQG+RQLJ¶VGHPDQGWKDW&RPSDQ\&EHJLQDJJUHVVLYHO\PDUNHWLQJ

LWVHOIDQGSD\LQJSURPRWHUVWRGRVR+RQLJDGGHGWRWKHGLVFXVVLRQWKHWRSLFRIIXWXUH

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LQYHVWPHQWLQWKHSXEOLFVKHOOEHIRUHWKHPHUJHULQWR&RPSDQ\&ZDVILQDOL]HG$VWKH

ULQJOHDGHUVIRUWKHLQYHVWRUJURXSLQ&RPSDQ\&+RQLJDQG6WHWVRQOHGWKHPHUJHUQHJRWLDWLRQV

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DURXQGWKHWLPHWKHPHUJHUFORVHG$7*%UDXVHUDQG$IILOLDWH(QWLW\DOVRPDGHLQYHVWPHQWVLQ

&RPSDQ\&$IWHUWKHPHUJHUWKHVWDNHRI(QWLW\++6&,%UDXVHU$IILOLDWH(QWLW\DQG$7*

LQFOXGLQJFRQYHUVLRQRIDOOZDUUDQWVDPRXQWHGWRDOPRVWRIWKHDXWKRUL]HGVKDUHVRIWKH

QHZO\SXEOLF&RPSDQ\&7KHWHUPVRIWKHPHUJHULQFOXGHGJUDQWLQJD³&RQVHQW5LJKW´WR

(QWLW\+DQGLWVDIILOLDWHVE\ZKLFK(QWLW\+FRXOGEORFNRUDSSURYHPDQ\NLQGVRIWUDQVDFWLRQV

E\&RPSDQ\&LQFOXGLQJWKHLVVXDQFHRIDGGLWLRQDOVKDUHVDQ\FKDQJHRIFRQWURODQGRWKHU

VLJQLILFDQWFRUSRUDWHDFWLRQV

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ZDUUDQWVWKDWWKH\DJUHHGZRXOGQRWEHH[HUFLVDEOHXQWLO-XO\+RZHYHURQ6HSWHPEHU

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DOORZHGLQYHVWRUVWRH[FKDQJHZDUUDQWVIRUVKDUHVFKHDSO\,QFRQQHFWLRQZLWKWKDWH[HUFLVH

6WHWVRQVXEPLWWHGZDUUDQWVRQEHKDOIRIVHYHUDOLQYHVWRUVLQFOXGLQJ$7*DQG$IILOLDWH(QWLW\

,QD6HSWHPEHUHPDLO&RPSDQ\&¶V&)2DVNHG6WHWVRQZKLFKHQWLWLHVZHUHKLVRU

+6&,¶VDIILOLDWHV6WHWVRQDQVZHUHGIDOVHO\WKDWKHZDV³QRWDIILOLDWHGZLWKDQ\RIWKRVHHQWLWLHV´

DQGWKDWKH³MXVWPDGHSULYDWHVDOHVIRUP\ZDUUDQWV´

                2.       The Series D and Series E Financings

                ,Q0DUFKDQG$SULO+RQLJRUFKHVWUDWHGWZRSULYDWHSODFHPHQW

ILQDQFLQJVIRU&RPSDQ\&WKDWZRXOGWLJKWHQ+RQLJ¶V%UDXVHU¶V6WHWVRQ¶VDQG2¶5RXUNH¶V

FRQWURORIWKHFRPSDQ\WKH6HULHV'DQG6HULHV(RIIHULQJV+RQLJGHVFULEHGWKHGHDOWR

6WHWVRQ%UDXVHUDQG,QYHVWRULQD0DUFKHPDLOFKDUDFWHUL]LQJLWDVD³UHDOJRRG

RSSRUWXQLW\´WKDWZRXOGDOORZWKHPWR³PDNHPLOOLRQFRQVHUYDWLYHO\LQPRQWKVDQGRXU

PRQH\RXW>LQ@ZHHNV,ZLOOWUDGHRXWRILWIRUXV´

                +RQLJDQG6WHWVRQSLWFKHGWKHILUVWRIWKHVHILQDQFLQJVWKH6HULHV'ILQDQFLQJ

WR&RPSDQ\&PDQDJHPHQWDVDZD\WREX\RXW(QWLW\+¶VSRVLWLRQDQGUHSDFNDJHWKHILQDQFLQJ

RQPRUHIDYRUDEOHWHUPVWR&RPSDQ\&

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GLVFORVLQJKLV%UDXVHU¶V6WHWVRQ¶VDQG2¶5RXUNH¶VKROGLQJVRQ6FKHGXOH'RU*6LQFHWKH

UHTXLUHPHQWWRPDNHWKRVHILOLQJVLVWULJJHUHGE\YRWLQJFRQWURORIVHFXULWLHV+RQLJLQVLVWHGWKDW

WKH6HULHV'DQG6HULHV(RIIHULQJVFRQVLVWRISUHIHUUHGFRQYHUWLEOHDQGQRQYRWLQJVKDUHVZLWK

EORFNHUSURYLVLRQV3XUVXDQWWRWKRVHEORFNHUSURYLVLRQV&RPSDQ\&ZDVSURKLELWHGIURP




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FRQYHUWLQJDQ\KROGHU¶VSUHIHUUHGVKDUHVWKDWZRXOGJLYHKLPRULWPRUHWKDQYRWLQJ

FRQWURORIWKHWRWDORXWVWDQGLQJFRPPRQVKDUHV

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PDQDJHPHQWLQGHHGZKHQGHFLGLQJZKHWKHUDSRWHQWLDOLQYHVWRUFRXOGWDNHSDUWLQWKH0DUFK

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HPDLOWR+RQLJRQ0DUFK³>K@HPLJKWEHDQRWKHUSDUW\\RXPLJKWZDQWWRDOORZWR

LQYHVWDORQJZLWKWKHFXUUHQWJURXS9LHZHGWKLVDV\RXUFKRLFHQRWPLQH7KDWLVZK\,DVNHG

KLPWRFDOO\RX´

             6WHWVRQNHSWXSWKHSUHVVXUHRQ&RPSDQ\&WRFORVHWKHILQDQFLQJVRQWKH

WHUPVKHDQG+RQLJGLFWDWHG2Q0DUFK6WHWVRQWROG&RPSDQ\&¶V&(2LQDQHPDLO

WKDWKHQHHGHGWRUHDFKDQXQGHUVWDQGLQJE\WKHQH[WGD\WRSURFHHGZLWKWKHEX\RXWRIWKH(QWLW\

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             +RQLJDQG6WHWVRQDOVRPDGHLWDFRQGLWLRQRIWKH0DUFK6HULHV'

ILQDQFLQJURXQGWKDW&RPSDQ\&UHWDLQ,VVXHU¶V&RXQVHODQG,VVXHU¶V&RXQVHO3DUWQHUDIWHUWKH

FORVLQJ±WKHODZILUPDQGSDUWQHUWKDWWKH\KDGUHTXLUHG&RPSDQ\$WRUHWDLQDQGWKHVDPHODZ

ILUPUHWDLQHGE\&RPSDQ\%1RWRQO\GLG+RQLJDQG6WHWVRQLQVLVWWKDW,VVXHU¶V&RXQVHO

UHSUHVHQW&RPSDQ\&LQD0DUFKHPDLOWR&RPSDQ\&¶V&)26WHWVRQDOVRGHPDQGHG

WKDW&RPSDQ\&VHWDVLGHD\HDURISUHSDLGOHJDOIHHVDVDQDGGLWLRQDOFRQGLWLRQWRGRLQJWKH

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             6WHWVRQPDQDJHGWKHILQDQFLQJSURFHVVZLWKWKHLQYHVWRUVDQGODZ\HUVDV

WKRXJKKHZHUH&RPSDQ\&PDQDJHPHQWDQGWROG&RPSDQ\&PDQDJHPHQWDERXWVXEVWDQWLYH

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             6WHWVRQLQWURGXFHG&RPSDQ\&PDQDJHPHQWWRKLVDQG+RQLJ¶VFKRVHQ,5

FRQVXOWDQWRQ0DUFKDQGDW+RQLJ¶VGLUHFWLRQLQVLVWHGWKDWWKHILQDQFLQJLQFOXGHD

JUDQWRI&RPSDQ\&VKDUHVDVSD\PHQWWRWKHFRQVXOWDQW2Q0DUFK+RQLJ

GLUHFWHG6WHWVRQWRHQJDJHDQRWKHU,5FRQVXOWDQWIRU&RPSDQ\&ZKRZDVDOVRJUDQWHG

&RPSDQ\&VKDUHV

             +RQLJDQGKLVDVVRFLDWHVUHFRJQL]HGWKDWWKHSDUWLFLSDWLRQRI,QYHVWRUZDV

FULWLFDOWRWKHVXFFHVVRIWKHWUDQVDFWLRQE\FUHDWLQJWKHPDUNHWGHPDQGQHFHVVDU\IRUWKHPWRVHOO

WKHLUVKDUHVDIWHUWKHSODQQHGSURPRWLRQ$V6WHWVRQH[SODLQHGLQDQHPDLOWR&RPSDQ\&

OHDGHUVKLSRQ0DUFKWKH³IROORZLQJRI>,QYHVWRU@LVZRUWKLWVZHLJKWDQG>VLF@JROG

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LQYHVWRUVZKHQKHDVNHG%UDXVHUWR³GR>KLP@DIDYRU´RQ$SULODQGIRUHJRKLV

SDUWLFLSDWLRQLQWKH6HULHV(ILQDQFLQJEHFDXVHDV+RQLJH[SODLQHG³,ZRXOGOLNHWROHWVRPHRI

RXUIULHQGVGRLW>,@WZRXOGEHEHVWLIZHOHW>,QYHVWRUDQG,QYHVWRU&RPSDQ\DQGDQ

,QYHVWRU&RPSDQ\H[HFXWLYH³,QYHVWRU&R2IILFHU´@WDNHWKHLUIXOODOORFDWLRQ´

             $WWKHVDPHWLPH+RQLJDQG%UDXVHUXQGHUVWRRGWKDWSXEOLFPDUNHWLQYHVWRUV

PLJKWQRWZDQWWRIROORZ,QYHVWRULQWRDFRPSDQ\GRPLQDWHGE\+RQLJDQG%UDXVHUDQGWKHLU

JURXS7KXVOLNH+RQLJ¶VGHFLVLRQWRFRQFHDOKLVLQLWLDOLQYHVWPHQWE\PDNLQJLWWKURXJK+6&,

+RQLJDQG%UDXVHUGHWHUPLQHGWRGLVJXLVHWKHIXOOH[WHQWRIWKHLUSDUWLFLSDWLRQLQWKHILQDQFLQJV

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%LRWHFK+RQLJLQIRUPHG6WHWVRQDQG%UDXVHULQHDUO\0DUFK³,ZRXOGOLNHXVWRGR>WKH

LQYHVWPHQW@WKURXJK6RXWKHUQ%LRWHFK´

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GHWDLOHGOLVWRILQYHVWRUVDVZHOODVWKHSURSRVHGLQYHVWPHQWDPRXQWDQGWKHPHWKRGRI

LQYHVWPHQWIRUERWKWKH6HULHV'DQG6HULHV(ILQDQFLQJV³6RXWKHUQELRWHFKZLOOLQYHVWPLOOLRQ

WRSXUFKDVH>(QWLW\+¶V@QRWHV±PLOOLRQHDFK´DQG³>,QYHVWRU@LVJRLQJWROHDGSLSH>SULYDWH

LQYHVWPHQWLQSXEOLFHTXLW\@IRUPLOOLRQDWFHQWV´

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%UDXVHU¶VLQYHVWPHQWWKURXJK6RXWKHUQ%LRWHFKXQGLVFORVHG5LJKWEHIRUHWKHFORVLQJRIWKH

6HULHV'ILQDQFLQJGLIIHUHQWFRXQVHOLQYROYHGLQWKHWUDQVDFWLRQVHQWSURSRVHG)RUP.

ODQJXDJHWR,VVXHU¶V&RXQVHOZKLFKZDVQRW\HWFRXQVHOWR&RPSDQ\&DQGZDVDFWLQJDV

SODFHPHQWDJHQW¶VFRXQVHOLQZKLFK&RPSDQ\&¶VWKHQFRXQVHOQDPHG6RXWKHUQ%LRWHFKDVDQ

LQYHVWRULQDIRRWQRWH,PPHGLDWHO\RQ0DUFK,VVXHU¶V&RXQVHO3DUWQHUDQGDQRWKHU

ODZ\HUIURP,VVXHU¶V&RXQVHOZURWHEDFNWKDW³>Q@RVWRFNKROGHU>LQYHVWRU@VKRXOGEHQDPHG´

)XUWKHUDW6WHWVRQ¶VDQG+RQLJ¶VGLUHFWLRQ,VVXHU¶V&RXQVHOFKDQJHGWKHEHQHILFLDORZQHUVKLS

EORFNHUUHTXLUHPHQWWRWRFUHDWHDQDUWLILFLDODQGGHFHSWLYH³FDS´RQWKHDPRXQWRI

FRPPRQVWRFNWKDWFRXOGEHKHOGDWRQHWLPH6WHWVRQH[SODLQHGLQD0DUFKHPDLOWR

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FROOHFWLYHO\RZQLQJPRUHWKDQLWGLGQRWKLQJWRSUHYHQWWKHLUDJJUHJDWHJURXSRZQHUVKLS

ZLWKRWKHUDVVRFLDWHVIURPH[FHHGLQJ±WKHUHSRUWLQJWKUHVKROG±HYHQLIWKHLULQGLYLGXDO

FRPPRQVWRFNRZQHUVKLSZDVNHSWWRRUEHORZ

             ,QDQ$SULOHPDLOWRKLV%RDUG&RPSDQ\&¶V&(2GHWDLOHGWKHGHPDQGV

RIWKH+RQLJLQYHVWRUVLQFOXGLQJWKDW,QYHVWRU&R2IILFHUEHJUDQWHGDOXFUDWLYHFRQVXOWLQJ

DJUHHPHQWDQGWKDWDQHZERDUGPHPEHUVDWLVIDFWRU\WR,QYHVWRU&R2IILFHUEHDSSRLQWHGDW

DODWHUGDWH7KH%RDUGFDSLWXODWHGDQGSXUVXDQWWRWKHFRQVXOWLQJDJUHHPHQW,QYHVWRU&R




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2IILFHUZDVJUDQWHG&RPSDQ\&VKDUHV±ZRUWKPRUHWKDQDWWKHWLPH±LQ

H[FKDQJHIRUKLVVHUYLFHV,QIDFW,QYHVWRU&R2IILFHUQHYHUSURYLGHGDQ\VHUYLFHVWR

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(QWLW\+¶VQRWHVLQFOXGLQJWKH&RQVHQW5LJKWDWDIDYRUDEOHSXUFKDVHSULFHWRWKHLQYHVWRUVZKR

SXUFKDVHGWKHQRWHV7KHLQYHVWRUVZKRSXUFKDVHGWKHQRWHVLQFOXGHGYDULRXVHQWLWLHVRZQHGDQG

FRQWUROOHGE\'HIHQGDQWV+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNH+6&,+RQLJDQG6WHWVRQ

*54+RQLJ*UDQGHU%UDXVHUDQG$7*2¶5RXUNH$IWHUWKLVWUDQVDFWLRQFORVHG&RPSDQ\

&KDGVKDUHVRIFRPPRQVWRFNRXWVWDQGLQJDQGWKH6HULHV'LQYHVWRUVKDGSUHIHUUHG

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FRPPRQVKDUHV±PRUHWKDQWZLFHDVPDQ\FRPPRQVKDUHVWKDQ&RPSDQ\&KDGRXWVWDQGLQJDW

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UDLVHGPLOOLRQIRU&RPSDQ\&RQWHUPVKLJKO\IDYRUDEOHWR,QYHVWRU,QYHVWRU7UXVWDQG

,QYHVWRU&RPSDQ\+RQLJDQGKLVDVVRFLDWHVPDQDJHGWKH,QYHVWRU,QYHVWRU7UXVWDQG

,QYHVWRU&RPSDQ\LQYHVWPHQWVWKURXJKWKH6HULHV(ILQDQFLQJ)RUH[DPSOH,QYHVWRU

&RPSDQ\¶VLQYHVWPHQWGRFXPHQWDWLRQZDVWUDQVPLWWHGWRDQGGLVFXVVHGZLWK6WHWVRQDQG

%UDXVHUUDWKHUWKDQDQ\LQGLYLGXDOVDW&RPSDQ\&UHIOHFWLQJWKHIDFWWKDW+RQLJDQGKLVFR

LQYHVWRUVZHUHRUFKHVWUDWLQJWKHGHDOUDWKHUWKDQ&RPSDQ\&LWVHOI

             ,QYHVWRU¶VSDUWLFLSDWLRQJDYH+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNHOHYHUDJH

LQQHJRWLDWLQJZLWK&RPSDQ\&LQFOXGLQJLQVROLGLI\LQJWKHJURXS¶VFRQWURORYHU&RPSDQ\&¶V

ERDUG:KHQQHJRWLDWLQJWKHILQDOWHUPVRIWKH6HULHV(ILQDQFLQJLQFOXGLQJ,QYHVWRU




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&RPSDQ\¶VULJKWWRGHVLJQDWHUHSODFHPHQWERDUGPHPEHUV6WHWVRQVRXJKWUHDVVXUDQFHIURP

,VVXHU¶V&RXQVHO3DUWQHULQDQ$SULOHPDLODVNLQJ³$UH\RXFRPIRUWDEOHWKDWZHZLOO

JHWFRQWURORIWKHERDUGZLWKWKLVODQJXDJH"´

                 $IWHUWKHILQDQFLQJVFORVHG+RQLJDWWHPSWHGWRIXUWKHUH[HUWKLVFRQWURORYHU

&RPSDQ\&)RUH[DPSOH+RQLJVSRNHZLWK&RPSDQ\&¶V&(2DERXWFKDQJLQJWKH

FRPSRVLWLRQRIWKHFRPSDQ\¶V%RDUGDQGVXJJHVWHGDVSHFLILFLQGLYLGXDODVDFDQGLGDWH$IWHU

&RPSDQ\&¶V&(2LQWHUYLHZHGWKHFDQGLGDWH,VVXHU¶V&RXQVHO3DUWQHUVHQWWKHFDQGLGDWHDOHWWHU

FRQWDLQLQJWKHVLJQDWXUHOLQHRI&RPSDQ\&¶V&(2LQYLWLQJKLPWRMRLQWKH%RDUGRQ$SULO

:KHQ&RPSDQ\&¶V&(2OHDUQHGRIWKHRIIHUKHFRQWDFWHG,VVXHU¶V&RXQVHO3DUWQHULQDQ

$SULOHPDLODQGLQVWUXFWHGKLPWRUHVFLQGWKHRIIHUEHFDXVHLWKDGQRWEHHQDXWKRUL]HG

E\WKH%RDUG,VVXHU¶V&RXQVHO3DUWQHUDJUHHGWRGRVRH[SODLQLQJWR&RPSDQ\&¶V&(2WKDWKH

KDGEHHQIROORZLQJ+RQLJ¶VGLUHFWLRQVLQVHQGLQJWKHRIIHUOHWWHURQEHKDOIRI&RPSDQ\&¶V

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                 3.       The Company C Pump and Dump in April 2015

                 2QHRIWKHJRDOVRIWKHSULYDWHSODFHPHQWILQDQFLQJVDV+RQLJ%UDXVHU

6WHWVRQDQG2¶5RXUNHNQHZZDVWRJHQHUDWHPDUNHWLQWHUHVWDQGERRVWWUDGLQJYROXPHLQ

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DFWLQJDW+RQLJ¶VGLUHFWLRQFLUFXODWHGDSUHVVUHOHDVHZLWKLQSXWIURP&RPSDQ\&¶V&(2

+RQLJDQG%UDXVHUDQQRXQFLQJWKHPLOOLRQSULYDWHSODFHPHQWLQZKLFK,QYHVWRUDQGKLV

HQWLWLHVKDGSDUWLFLSDWHGGUDZLQJRQ,QYHVWRU¶VUHSXWDWLRQDPRQJUHWDLOLQYHVWRUVDVD

VXFFHVVIXOELRSKDUPDLQYHVWRU

                 +RQLJZLWKWKHNQRZOHGJHRI%UDXVHUDQG6WHWVRQWKHQGLUHFWHG2¶5RXUNHWR

ZULWHDSURPRWLRQDODUWLFOHZKLFK2¶5RXUNHSXEOLVKHGXQGHUWKHSVHXGRQ\P³:DOO6WUHHW




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$GYLVRUV´RQWKHSeeking AlphaZHEVLWHRQ$SULODWDP7KHDUWLFOHWLWOHG

³>,QYHVWRU&RPSDQ\@6SRWV$QRWKHU2YHUORRNHG2SSRUWXQLW\LQ>&RPSDQ\&@´KLJKOLJKWHG

,QYHVWRU&RPSDQ\¶VDQG,QYHVWRU¶VLQYHVWPHQWLQ&RPSDQ\&DQGZDVGHVLJQHGWRLQVSLUH

,QYHVWRU¶VUHWDLOLQYHVWRUGHYRWHHVWRIROORZKLVOHDGDQGEX\&RPSDQ\&VWRFN'HVSLWHKLV

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ZLWK+RQLJ%UDXVHU,QYHVWRUDQG6WHWVRQLQKLVDUWLFOH2¶5RXUNHNQRZLQJO\DQGIDOVHO\

FODLPHGWKDW³>W@KHDXWKRUKDVQREXVLQHVVUHODWLRQVKLSZLWK>&RPSDQ\&@´+HDOVRNQRZLQJO\

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FUHDWLQJDIDOVHDSSHDUDQFHRIPDUNHWLQWHUHVWLQWKHVWRFN7KDWWUDGLQJLQFOXGHGDWOHDVWRQH

PDWFKHGWUDGHZLWKD+RQLJDVVRFLDWHVXEPLWWLQJWKHEX\RUGHUDQG$7*VXEPLWWLQJWKHVHOO

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VKDUHVURVHDOPRVWIURPVKDUHVRQ$SULOWRVKDUHVRQ$SULO

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PLOOLRQ+RQLJDQGKLVDIILOLDWHVOLVWHGEHORZDFWLQJSXUVXDQWWRWKHLUDJUHHPHQWWRDFTXLUH

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             &RPSDQ\&3XPSDQG'XPS3URFHHGV)ROORZLQJ$SULO3URPRWLRQ
    'HIHQGDQWV                       7UDGH'DWHV    1HW4XDQWLW\     3URFHHGV
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    7RWDO                                                 
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                 4.       The Company C Pump and Dump in June/July 2015

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SHUVKDUHWRFORVLQJSULFHVKRYHULQJMXVWDERYHSHUVKDUH2¶5RXUNHUHFUXLWHG)RUGWRSXEOLVK

DQRWKHU&RPSDQ\&WRXWRQ)RUG¶VEORJ2Q-XO\)RUGSXEOLVKHGDQDUWLFOHWLWOHG

³>&RPSDQ\&@1HDU7HUP&DWDO\VWV&RXOG3XVK6KDUHVIURPWRRYHU´7KHDUWLFOH

FRQWDLQHGPDWHULDOO\IDOVHVWDWHPHQWVDV+RQLJ%UDXVHU6WHWVRQDQG2¶5RXUNHNQHZRUZHUH

UHFNOHVVLQQRWNQRZLQJLQFOXGLQJWKDWDOLFHQVLQJGHDOZDVLPPLQHQWZKHQLWZDVQRWDQGWKDW

WKHUHZHUHQHDUWHUPWKHUDS\GHYHORSPHQWHYHQWVWKDWFRXOGWDNHWKHVKDUHSULFHWRZKHQLQ

IDFWFOLQLFDOWULDOVZHUHRQO\LQHDUO\VWDJHV$VEHIRUHDOWKRXJK+RQLJFRPSHQVDWHG)RUGIRU

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YROXPHLQFUHDVHGIURPVKDUHVRQ-XQHWRVKDUHVRQ-XO\

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    'HIHQGDQWV                       7UDGH'DWHV    1HW4XDQWLW\    3URFHHGV
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                 5.       False Beneficial Ownership Reports by Honig, Brauser, Stetson and
                          O’Rourke
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GLVSRVHRIWKHLUVKDUHVLQFRRUGLQDWLRQZLWKRQHDQRWKHU6WHWVRQ¶VLQWHQWLRQDORUUHFNOHVVIDLOXUH

WRPDNHWLPHO\DQGDSSURSULDWHILOLQJVXQGHU([FKDQJH$FW6HFWLRQGZLWKUHVSHFWWRKLVDQG

KLVJURXS¶VKROGLQJVRI&RPSDQ\%DQG&RPSDQ\&VKDUHVDOVRYLRODWHG([FKDQJH$FW6HFWLRQ

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LQYHVWRUVDERXWKLVDQGKLVJURXS¶VFRQWURORIWKHPDQDJHPHQWDQGSROLFLHVRIDQGWKHPDJQLWXGH

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REWDLQLQJDQGH[HUFLVLQJXQGLVFORVHGFRQWURORIWKHPDQDJHPHQWDQGSROLFLHVRI&RPSDQ\$

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HQWKXVLDVWLFDQGGHFHSWLYHDUWLFOHVRQHDFKLVVXHUWRDUWLILFLDOO\ERRVWWUDGLQJYROXPHDQGVWRFN

SULFHDQGRQDWOHDVWRQHRFFDVLRQZULWLQJDQGSXEOLVKLQJKLVRZQPDWHULDOO\IDOVHDQG

PLVOHDGLQJDUWLFOHDERXW&RPSDQ\&DQGVHOOLQJVKDUHVRIHDFKFRPSDQ\LQWRWKHPDUNHWDW

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WKHUHXQGHUE\ZULWLQJDQGSXEOLVKLQJDSURPRWLRQDODUWLFOHDERXW&RPSDQ\&LQZKLFKKH

NQRZLQJO\DQGIDOVHO\GLVFODLPHGDQ\EXVLQHVVUHODWLRQVKLSZLWK&RPSDQ\&RUWKDWKHKDG

UHFHLYHGDQ\FRPSHQVDWLRQIRUZULWLQJWKHDUWLFOHERWKPDWHULDOPLVVWDWHPHQWV2¶5RXUNH¶V

LQWHQWLRQDORUUHFNOHVVIDLOXUHWRPDNHWLPHO\DQGDSSURSULDWHILOLQJVXQGHU([FKDQJH$FW6HFWLRQ

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YLRODWHG([FKDQJH$FW6HFWLRQEDQG5XOHVEDDQGFDVPDWHULDORPLVVLRQVWKDW

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DQGSROLFLHVRIDQGWKHPDJQLWXGHRIWKHLULQGLYLGXDODQGFROOHFWLYHLQYHVWPHQWLQERWK

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DQGWKHLUFROOHFWLYHFRQWURORYHU&RPSDQ\$¶VPDQDJHPHQWDQGSROLFLHV0D]DIXUWKHUYLRODWHG

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VXEPLWWLQJPDWHULDOO\IDOVHVWDWHPHQWVWR&RPSDQ\$¶VWUDQVIHUDJHQWDERXW+RQLJ¶VUHODWLRQVKLS

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+RQLJ%UDXVHU6WHWVRQ2¶5RXUNH*54*UDQGHU+6&,DQG0D]DGLUHFWO\RULQGLUHFWO\

VLQJO\RULQFRQFHUWE\XVHRIWKHPHDQVRULQVWUXPHQWVRIWUDQVSRUWDWLRQRUFRPPXQLFDWLRQLQ

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VWDWHPHQWVPDGHLQWKHOLJKWRIWKHFLUFXPVWDQFHVXQGHUZKLFKWKH\ZHUHPDGHQRWPLVOHDGLQJ

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EXVLQHVVZKLFKRSHUDWHGRUZRXOGRSHUDWHDVDIUDXGRUGHFHLWXSRQSXUFKDVHUVRIVHFXULWLHVRI

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H[HUFLVLQJXQGLVFORVHGFRQWURORIWKHPDQDJHPHQWDQGSROLFLHVRI&RPSDQ\$&RPSDQ\%DQG

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GHFHSWLYHDUWLFOHVRQHDFKLVVXHUWRDUWLILFLDOO\ERRVWWUDGLQJYROXPHDQGVWRFNSULFHDQGVHOOLQJ

VKDUHVRIHDFKFRPSDQ\LQWRWKHPDUNHWDWDUWLILFLDOO\KLJKSULFHV+RQLJIXUWKHUYLRODWHG

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VXEPLWWLQJPDWHULDOO\IDOVHDWWRUQH\RSLQLRQOHWWHUVWRWUDQVIHUDJHQWVUHODWLQJWRKLVUHODWLRQVKLS

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PHPEHUVKLSLQDJURXSZLWK%UDXVHU6WHWVRQ2¶5RXUNHDQGRWKHUDIILOLDWHVSXUVXDQWWRWKHLU

DJUHHPHQWWRDFTXLUHKROGYRWHDQGRUGLVSRVHRIWKHLUVKDUHVLQFRRUGLQDWLRQZLWKRQHDQRWKHU

:LWKUHVSHFWWR&RPSDQ\&+RQLJYLRODWHG6HFXULWLHV$FW6HFWLRQVDDDQGDE\

NQRZLQJO\RUUHFNOHVVO\PDNLQJERWKDPDWHULDOO\IDOVHDQGPLVOHDGLQJ6FKHGXOH*ILOLQJDQG

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RWKHUDIILOLDWHVSXUVXDQWWRWKHLUDJUHHPHQWWRDFTXLUHKROGYRWHDQGRUGLVSRVHRIWKHLUVKDUHVLQ

FRRUGLQDWLRQZLWKRQHDQRWKHU%\PHDQVRI+RQLJ¶VIDOVHDQGPLVOHDGLQJILOLQJVXQGHU

([FKDQJH$FW6HFWLRQGZLWKUHVSHFWWRKLVVWRFNRZQHUVKLSRI&RPSDQ\%DQG&RPSDQ\&

+RQLJZDVDEOHWRDFTXLUHDGGLWLRQDOVKDUHVRIERWKFRPSDQLHVDQGZDVDEOHWRVHOOKLVVKDUHVLQ

WKHGXPSLQWRDUWLILFLDOO\LQIODWHGWUDGLQJYROXPHDQGVWRFNSULFH$OWHUQDWLYHO\+RQLJYLRODWHG

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WKDWDUHDVRQDEO\FDUHIXOSHUVRQZRXOGXVHXQGHUOLNHFLUFXPVWDQFHV+RQLJ¶VLQWHQWLRQDORU

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PDJQLWXGHRIWKHLULQGLYLGXDODQGFROOHFWLYHLQYHVWPHQWLQERWKFRPSDQLHV$OWHUQDWLYHO\

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SURPRWLRQDODUWLFOHVWKDW+RQLJKDGGLUHFWO\RULQGLUHFWO\VHFUHWO\SDLGIRUDQGRUFKHVWUDWHG

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DQGRWKHUDIILOLDWHVWRDFTXLUHKROGYRWHDQGRUGLVSRVHRI&RPSDQ\%DQG&RPSDQ\&

VHFXULWLHVLQFRRUGLQDWLRQZLWKRQHDQRWKHUDVZHOODVKLVPHPEHUVKLSLQDJURXSZLWK+RQLJ

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DQGPLVOHDGLQJILOLQJVXQGHU([FKDQJH$FW6HFWLRQGZLWKUHVSHFWWRKLVVWRFNRZQHUVKLSRI

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DQGZDVDEOHWRVHOOKLVVKDUHVLQWKHGXPSLQWRDQDUWLILFLDOO\LQIODWHGWUDGLQJYROXPHDQGVWRFN

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FLUFXPVWDQFHV%UDXVHU¶VLQWHQWLRQDORUUHFNOHVVIDLOXUHWRPDNHWLPHO\DQGDSSURSULDWHILOLQJV

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PDQDJHPHQWDQGSROLFLHVRIDQGWKHPDJQLWXGHRIWKHLULQGLYLGXDODQGFROOHFWLYHLQYHVWPHQWLQ

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IDFWVRURPLWWHGWRVWDWHPDWHULDOIDFWVQHFHVVDU\LQRUGHUWRPDNHWKHVWDWHPHQWVPDGHLQOLJKWRI

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REWDLQHGPRQH\RUSURSHUW\E\PHDQVRIDQ\XQWUXHVWDWHPHQWVRIDPDWHULDOIDFWRURPLWWHGWR

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DIILOLDWHVSDLGKLPWRZULWHDERXW&RPSDQ\$DQG&RPSDQ\&LQFOXGLQJWKDWKHZDVQRWEHLQJ

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UHOHDVHLQZKLFKKHPDGHPDWHULDOO\IDOVHVWDWHPHQWVDERXWWKHVDOHRI&\EHUVHFXULW\,QQRYDWRU¶V

IRUPHUFRPSDQ\WR,QWHO/DGGIXUWKHUYLRODWHG6HFWLRQDE\NQRZLQJO\UHFNOHVVO\RU

QHJOLJHQWO\IDLOLQJWRGLVFORVHWKHWUXHH[WHQWRIWKHVWRFNRZQHUVKLSRI+RQLJ%UDXVHU6WHWVRQ




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DQGWKHLUFROOHFWLYHFRQWURORYHU&RPSDQ\$¶VPDQDJHPHQWDQGSROLFLHV.HOOHUIXUWKHUYLRODWHG

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NQRZLQJZHUHWRDSSHDULQDSXEOLVKHGSURPRWLRQDODUWLFOHRQ&RPSDQ\$±DERXWWKHVWDWXVRI

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LQWRWKHPDUNHWLQWRWUDGLQJYROXPHDQGDWSULFHVLWNQHZRUZDVUHFNOHVVLQQRWNQRZLQJZHUH

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LQWRWKHPDUNHWLQWRWUDGLQJYROXPHDQGDWSULFHVLWNQHZRUZDVUHFNOHVVLQQRWNQRZLQJZHUH

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PDNLQJPDWHULDOO\IDOVHVWDWHPHQWVWR)RUG±ZKLFKKHNQHZZHUHWRDSSHDULQDSXEOLVKHG

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VHFXULWLHVH[FKDQJHIRUWKHSXUSRVHRIFUHDWLQJDIDOVHRUPLVOHDGLQJDSSHDUDQFHRIDFWLYHWUDGLQJ

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RUGHURURUGHUVIRUWKHSXUFKDVHDQGRUVDOHRIVXFKVHFXULW\ZLWKWKHNQRZOHGJHWKDWDQRUGHURU

RUGHUVRIVXEVWDQWLDOO\WKHVDPHVL]HDWVXEVWDQWLDOO\WKHVDPHWLPHDQGVXEVWDQWLDOO\WKHVDPH

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.HOOHU)RUG$7**54*UDQGHU+6&,DQG6&,WKHLUUHVSHFWLYHDJHQWVVHUYDQWVHPSOR\HHV

DQGDWWRUQH\VDQGDOOSHUVRQVLQDFWLYHFRQFHUWRUSDUWLFLSDWLRQZLWKWKHPZKRUHFHLYHDFWXDO

QRWLFHRIWKHLQMXQFWLRQE\SHUVRQDOVHUYLFHRURWKHUZLVHDQGHDFKRIWKHPIURPIXWXUH

YLRODWLRQVRI6HFWLRQERIWKH([FKDQJH$FW>86&ME@DQG5XOHEWKHUHXQGHU

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*UDQGHU+6&,DQG6&,WKHLUUHVSHFWLYHDJHQWVVHUYDQWVHPSOR\HHVDQGDWWRUQH\VDQGDOO

SHUVRQVLQDFWLYHFRQFHUWRUSDUWLFLSDWLRQZLWKWKHPZKRUHFHLYHDFWXDOQRWLFHRIWKHLQMXQFWLRQ

E\SHUVRQDOVHUYLFHRURWKHUZLVHDQGHDFKRIWKHPIURPIXWXUHYLRODWLRQVRI6HFWLRQGRIWKH

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       3HUPDQHQWO\UHVWUDLQLQJDQGHQMRLQLQJ/DGGKLVUHVSHFWLYHDJHQWVVHUYDQWVHPSOR\HHV

DQGDWWRUQH\VDQGDOOSHUVRQVLQDFWLYHFRQFHUWRUSDUWLFLSDWLRQZLWKWKHPZKRUHFHLYHDFWXDO

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DEHWWLQJIXWXUHYLRODWLRQVRI6HFWLRQDRIWKH([FKDQJH$FW>86&PD@DQG5XOHV

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       3HUPDQHQWO\UHVWUDLQLQJDQGHQMRLQLQJ0D]DDQG.HOOHUWKHLUUHVSHFWLYHDJHQWVVHUYDQWV

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       3HUPDQHQWO\EDUULQJ/DGG0D]DDQG.HOOHUIURPDFWLQJDVDQRIILFHURUGLUHFWRURID

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      3HUPDQHQWO\SURKLELWLQJDOO'HIHQGDQWVIURPSDUWLFLSDWLQJLQDQ\RIIHULQJRISHQQ\VWRFN

SXUVXDQWWR6HFWLRQJRIWKH6HFXULWLHV$FW>86&WJ@DQG6HFWLRQGRIWKH

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      2UGHULQJ'HIHQGDQWVWRGLVJRUJHDOORIWKHLOOJRWWHQJDLQVIURPWKHYLRODWLRQVDOOHJHGLQ

WKLVFRPSODLQWDQGRUGHULQJWKHPWRSD\SUHMXGJPHQWLQWHUHVWWKHUHRQ

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       2UGHULQJ'HIHQGDQWVWRSD\FLYLOPRQH\SHQDOWLHVSXUVXDQWWR6HFWLRQGRIWKH

6HFXULWLHV$FW>86&WG@DQG6HFWLRQGRIWKH([FKDQJH$FW>86&

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